         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 1 of 144




                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

WEBROOT INC. and                                      )
OPEN TEXT, INC.,                                      )
                                                      )
             Plaintiffs,                              )
v.                                                    )       Civil Action No. 6:22-cv-00240
                                                      )
SOPHOS LTD.                                           )       JURY TRIAL DEMANDED
                                                      )
             Defendant.                               )
                                                      )

                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs Webroot, Inc. (“Webroot”) and Open Text, Inc. (“Open Text”) (collectively

“Plaintiffs”) allege against Defendant Sophos Ltd. (“Sophos” or “Defendant”) the following:

       1.       This case involves patented technologies that helped to revolutionize, and have

become widely adopted in, the fields of malware detection, network security, and endpoint

protection. Endpoint protection involves securing endpoints or entry points of end-user devices

(e.g., desktops, laptops, mobile devices, etc.) on a network or in a cloud from cybersecurity threats,

like malware.

       2.       Before Plaintiffs’ patented technologies, security platforms typically relied on

signatures (i.e., unique identifiers) of computer objects (e.g., computer programs) that were

analyzed and identified as “bad” by teams of threat researchers. This approach required antivirus

companies to employ hundreds to thousands of threat analysts to review individual programs and

determine if they posed a threat.

       3.       The “bad” programs identified by researchers were compiled into a library and

uploaded to an antivirus software program installed on each endpoint device. To detect threats, a

resource intensive “virus scan” of each endpoint device was conducted. These virus scans could



                                                  1
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 2 of 144




take hours to complete and substantially impact productivity and performance.

       4.      Despite substantial investments in resources and time, the conventional systems

still were unable to identify and prevent emerging (“zero-day”) threats from new or unknown

malware. New threats persisted and were free to wreak havoc until a team of threat analysts could

identify each one and upload these newly identified threats to an update of the “bad” program

library. The updated “bad” program library, including signatures to identify new threats as well as

old, then had to be disseminated to all of the endpoint computers, which required time and resource

consuming downloads of the entire signature library to every computer each time an update was

provided.

       5.      By the early-to-mid 2000s, new threats escalated as network connectivity became

widespread, and programs that mutate slightly with each new copy (polymorphic programs)

appeared. These events, and others, rendered the traditional signature-based virus scan systems

ineffective for these modern environments.

       6.      Plaintiffs’ patented technology helped transform the way malware detection and

network security is conducted, reducing and often even eliminating the shortcomings that plagued

signature-based security products that relied on human analysts.

       7.      Instead of relying on human analysts, Plaintiffs’ patented technology enabled the

automatic and real-time analysis, identification, and neutralization of previously unknown threats,

including new and emerging malware, as well as advanced polymorphic programs.

       8.      For example, Plaintiffs’ patented technology uses information about the computer

objects being executed—including, for example, information about the object’s behavior and

information collected from across a network—along with machine learning technology and novel

system architectures, to provide security systems that are effective in identifying and blocking new




                                                 2
           Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 3 of 144




security threats in real-time in real-world, commercial systems.

          9.    Plaintiffs’ patented technology further includes new methods of “on execution”

malware analysis; new architectures that efficiently and effectively distribute workloads across the

network; new forensic techniques that enable fast, efficient, and accurate analysis of malware

attacks; and new advanced memory scanning techniques.

          10.   Plaintiffs’ patented technology makes security software, platforms, and appliances

better at detecting malware by, for example, reducing false positives/negatives and enabling the

identification and mitigation of new and emerging threats in near real-time. These improvements

are accomplished while at the same time reducing the resource demands on the endpoint computers

(e.g., not requiring downloading and using full signature databases and time-consuming virus

scans).

          11.   Plaintiff Webroot has implemented this technology in its security products like

Webroot SecureAnywhere AntiVirus, which identifies and neutralizes unknown and undesirable

computer objects in the wild in real-time.

          12.   Over the years, Plaintiff Webroot has also received numerous accolades and awards

for its products and services. For example, Webroot has received 22 PC Magazine Editor’s Choice

Awards, including “Best AntiVirus and Security Suite 2021.” That same year, Webroot also

received the Expert Insights Best-of-Endpoint Security award.

          13.   Plaintiffs currently own more than 70 patents describing and claiming these and

other innovations, including U.S. Patent No. 8,418,250 (the “’250 Patent”), U.S. Patent No.

8,726,389 (the “’389 Patent”), U.S. Patent No. 9,578,045 (the “’045 Patent”), U.S. Patent No.

10,257,224 (the “’224 Patent”), U.S. Patent No. 10,284,591 (the “’591 Patent”), U.S. Patent No.

10,599,844 (the “’844 Patent”), and U.S. Patent No. 9,413,721 (the “’721 Patent”). (Exhibits 1-7.)




                                                 3
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 4 of 144




        14.     Plaintiffs’ patented technology represents such a vast improvement on the

traditional malware detection and network security systems that it has become a widely adopted

and accepted approach to providing endpoint security in real-time.

        15.     Defendant Sophos Ltd (collectively, “Sophos”) is a direct competitor of Plaintiffs

and provides security software and systems that, without authorization, implement Plaintiffs’

patented technologies. Sophos’s infringing security software includes, but is not limited to,

Intercept X Advanced with EDR and XDR, Sophos Web Appliance, Sophos XG Firewall, and

Sophos Synchronized Security, (collectively, “Sophos Security Suite” or “Accused Products”).

        16.     Plaintiffs bring this action to seek damages for, and to ultimately stop, Defendant’s

continued infringement of Plaintiffs’ patents, including in particular the ’250 Patent, the ’389

Patent, the ’224 Patent, the ’045 Patent, the ’591 Patent, the ’844 Patent, and the ’721 Patent

(collectively, the “Asserted Patents.” (Exhibits 1-7.) As a result of Sophos’s unlawful competition

in this District and elsewhere in the United States, Plaintiffs have lost sales and profits and suffered

irreparable harm, including lost market share and goodwill.

                                     NATURE OF THE CASE

        17.     Plaintiffs bring claims under the patent laws of the United States, 35 U.S.C. § 1, et

seq., for infringement of the Asserted Patents. Defendant has infringed and continues to infringe

each of the Asserted Patents under at least 35 U.S.C. §§271(a), 271(b) and 271(c).

                                           THE PARTIES

        18.     Plaintiff Webroot, Inc., is the owner by assignment of each of the Asserted Patents.

        19.     Webroot has launched multiple cybersecurity products incorporating its patented

technology, including for example Webroot SecureAnywhere and Evasion Shield.

        20.     Webroot is a registered business in Texas with multiple customers in this District.




                                                   4
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 5 of 144




Webroot also partners with several entities in this District to resell, distribute, install, and consult on

Webroot’s products.

       21.     Plaintiff Open Text Inc. (OpenText) holds an exclusive license to the Asserted Patents.

OpenText is registered to do business in the State of Texas.

       22.      OpenText is a Delaware corporation and maintains three business offices in the state of

Texas, two of which are located in this District, including one in Austin and another in San Antonio.

Over 60 employees work in this District, including employees in engineering, customer support, legal

and compliance teams, IT, and corporate development. OpenText also has a data center located in this

District. OpenText is in the computer systems design and services industry. OpenText sells and services

software in the United States.

       23.     Defendant Sophos Ltd. is a foreign corporation with its global headquarters at The

Pentagon, Abingdon, OX14 3YP, United Kingdom.

                                   JURISDICTION & VENUE

       24.     This action arises under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.

The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       25.     This Court has personal jurisdiction over Defendant because Defendant regularly

conducts business in the State of Texas and in this district, including operating systems, using

software, providing services and/or engaging in activities in Texas and in this district that infringe

one or more claims of the Asserted Patents.

       26.     Defendant Sophos has further, either directly or through its extensive network of

reseller and OEM partnerships, purposefully and voluntarily placed its infringing products and/or

services into the stream of commerce with the intention and expectation that they will be purchased

and used by customers in this District, as detailed below.




                                                  5
            Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 6 of 144




       27.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) and 28

U.S.C. § 1400(b) because, upon information and belief, Defendant Sophos is a foreign entity.

Sophos has also committed acts of infringement within this District.

       28.      On information and belief, Sophos is a foreign corporation with significant contacts

with this District. As an example, Sophos has entered into license agreements with end-users in

Texas covering the Accused Products and their operation in this District. The Sophos Security

Suite End User License Agreements all reference Sophos Limited as the rights-holder under the

contract.       (See,     e.g.,      https://www.sophos.com/en-us/legal/sophos-end-user-license-

agreement.aspx.) Thus, Sophos has entered into license agreements with end-users covering the

Accused Products and their operation in Texas and in this District.

       29.      On information and belief, Sophos relies on a network of partnerships with

“resellers, managed service providers and cybersecurity experts” to sell Accused Products,

including Intercept X, to its customers in this District, and to instruct and teach customers how to

use the Accused Products. (See, e.g., https://www.sophos.com/en-us/products/endpoint-

antivirus/how-to-buy.aspx (“Sophos products and services are sold via trusted partners who

recommend and implement the right solutions to meet your unique needs.”).)

       30.      On information and belief, Sophos sells, offers for sale, advertises, makes, installs,

and/or otherwise provides endpoint security software and security services, including the Accused

Products, the use of which infringes the Asserted Patents in this District. Sophos performs these

acts directly and/or through its partnerships with resellers and managed service providers in this

District. Those partners include, but are not limited to, “Gold” and “Silver” partners consisting of

resellers and managed service providers in this District. (See https://partners.sophos.com/

english/directory/search?lat=30.267153&lng=-97.7430608&dMI=100&p=1.)




                                                  6
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 7 of 144




       31.     On information and belief, Sophos generates sales to end users within the United

States and within this District through its partnerships with resellers and managed service

providers. (Id.)

       32.     Sophos has sold infringing endpoint security software and provided infringing

endpoint security services to customers who have regular and established places of business in this

District, which, on information and belief, deploy Sophos’s endpoint security software to their

endpoint devices and encourages others to install Sophos’s antivirus software on their own devices.

(See, e.g., https://security.utexas.edu/education-outreach/anti-virus.)

       33.     As further detailed below, Sophos’s use, provision of, offer for sale, sales,

installation, maintenance, support, and advertising of endpoint security software within this

District infringe the Asserted Patents. Sophos’ partners infringe the Asserted Patents by using,

installing, offering for sale, selling, providing support for, and/or advertising Sophos’s endpoint

security software within this District. Sophos’ customers infringe the Asserted Patents by using

Sophos’ endpoint security software within this District.

       34.     Sophos and its partners encourage and induce its partners and customers to use the

Accused Products in an infringing way at least by making Sophos’s endpoint security services

available on its website, widely advertising those services, providing applications that allow

partners and users to access those services, provides instructions for installing, and maintaining

those products, and/or provides technical support to users, and engaging in activities that aid and

abet infringement of the Asserted Patents by end-users. (See https://www.sophos.com/en-

us/products/endpoint-antivirus.aspx.)

       35.     Sophos’s partners also infringe (directly or indirectly) the Asserted Patents by

installing, maintaining, operating, providing instructions and technical support, and/or advertising




                                                  7
            Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 8 of 144




the Sophos Security Suite including the Accused Products within this District. End-users and

Sophos’s partner customers infringe the Asserted Patents at least by installing and using Sophos

Security Suite software, which performs the claimed methods in the Asserted Patents within this

District.

        36.     Sophos also contributes to infringement of the Asserted Patents by customers and

end users of the Accused Products by offering within the United States or importing into the United

States the Accused Products, which are for use in practicing, and under normal operation practice,

one or more of the methods claimed in the Asserted Patents, constituting a material part of the

inventions claimed, and not a staple article or commodity of commerce suitable for substantial

non-infringing uses. Indeed, the Accused Products and the example functionality described below

have no substantial non-infringing uses but are specifically designed to practice the methods

claimed in the Asserted Patents.

        37.     Sophos’ infringement adversely impacts Plaintiffs and their employees who live in

this district, as well as Plaintiffs’ partners and customers who live and work in and around this

District. On information and belief, Sophos actively targets and offers Accused Products to

customers served by Plaintiffs, including in particular customers/end-users in this District.

                         PLAINTIFFS’ PATENTED INNOVATIONS

        38.     Plaintiff Webroot, and its predecessors were all pioneers and leading innovators in

developing and providing modern end point security protection, including “community-based”

signatureless threat detection process using AI-driven behavior analysis across the entire network

to provide “zero-day” protection against unknown threats.

        39.     The Asserted Patents discussed below capture technology, features, and processes

that reflect these innovations, and improve on traditional anti-Malware and network security




                                                 8
           Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 9 of 144




systems.

                              Advanced Malware Detection Patents
                            U.S. Patent Nos. 8,418,250 and 8,726,389

       40.     The ’250 and ’389 Patents are part of the same patent family and generally disclose

and claim systems and processes related to real-time and advanced classification techniques for

as-yet unknown malware. These patents are collectively known as the “Advanced Malware

Detection” Patents. Plaintiff Webroot owns by assignment the entire right, title, and interest in and

to the ’250 and ’389 Patents. Webroot has granted Plaintiff OpenText an exclusive license to the

’250 and ’389 Patents.

       41.     The ’250 Patent is entitled “Methods and Apparatus for Dealing with Malware,”

was filed on June 30, 2006, and was duly and legally issued by the United States Patent and

Trademark Office (“USPTO”) on April 9, 2013. The ’250 Patent claims priority to Foreign

Application No. 0513375.6 (GB), filed on June 30, 2005. A true and correct copy of the ’250

Patent is attached as Exhibit 1.

       42.     The ’389 Patent is also entitled “Methods and Apparatus for Dealing with

Malware,” was filed on July 8, 2012, and was duly and legally issued by the USPTO on May 13,

2014. The ’389 Patent claims priority to the same Foreign Application as the ’250 Patent. A true

and correct copy of the ’389 Patent is attached as Exhibit 2.

       43.     Malware detection systems in use at the time the Advanced Malware Detection

Patents were filed identified malware by maintaining a database of signatures identifying known

bad objects (i.e., malware). The signature for an object was conventionally made by creating a

hash or checksum corresponding to the object file, which uniquely identifies that object. The

signature of each object was then compared to the database to look up whether it matches known

malware.



                                                 9
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 10 of 144




       44.      If the signature of the object is not found in the database, it is assumed safe or

alternatively, the whole file is sent for further investigation by a human analyst. The process of

further investigation was typically carried out manually or “semimanually” by subjecting the file

to detailed analysis, for example by emulation or interpretation, which can take days given the

human involvement that is typically required. (See, e.g., Exhibit 2, ’389 Patent, 2:9-17.)

       45.     This approach had significant drawbacks, including that it required considerable

effort by the providers of such systems to identify and analyze new malware and generate

signatures of objects that are found to be bad after human analysis. Large vendors of anti-malware

packages typically employed thousands of human analysts to identify and analyze objects and keep

the database of signatures of bad objects reasonably up to date.

       46.     However, as the volume of network traffic increases, the task of keeping up with

identifying suspect objects and investigating whether or not they are bad becomes practically

impossible. (Id.) It can take days to subject a suspicious file to detailed analysis given the human

involvement, and a considerable period of time elapses before a new file is classified as safe or as

malware. Thus, the human analysis introduces a time delay where users are exposed and

unprotected from the risks posed by previously unidentified malware. (See Exhibit 2, ’389 Patent,

2:9-23, 2:63-67.)

       47.     By contrast, the methods and systems disclosed and claimed in the ’250 and ’389

Patents perform automatic, sophisticated review (e.g., “pattern analysis”) of the actual attributes

of a software object or process and the behavior engaged in by, or associated with, that object or

process on computers connected to a network.

       48.     This review enables a determination of “the nature of the object,” (e,g, whether it

is malicious or not based on review of the object, its behaviors or the activities associated with the




                                                 10
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 11 of 144




object), without requiring a detailed manual analysis of the code of the object itself, or relying

exclusively on whether it has a signature that matches an extensive database of known malicious

“signatures.” (See Exhibit 2, ’389 Patent, 3:14-24; Exhibit 1, ’250 Patent, 3:7-18.) This provides a

significant improvement to the operation of the computer network because monitoring behavior or

other information about the object or process, rather than code or signature matching, allows the

system to rapidly determine the nature of the object (e.g., malware), without requiring a detailed

manual analysis of the code of the object itself as in conventional anti-virus software. (See Exhibit

1, ’250 Patent, 3:11-18.)

       49.     The approaches in the Advanced Malware Detection Patents are generally focused

on receiving information about the behavior of objects or processes on remote computers at a base

computer. This information is analyzed automatically by, for example, mapping the behavior and

attributes of objects known across the community in order to identify suspicious behavior and to

identify malware at an early stage. This approach allows, among other advantages, the number of

human analysts needed to be massively reduced. It also improves the computer network by

reducing the latency involved with identifying new threats and responding to objects exhibiting

new, potentially malevolent behavior. (’250 Patent Prosecution History, 2010-09-07 Amendment

at 16-17.)

       50.     Each of the claimed inventions of the Advanced Malware Detection Patents is

necessarily rooted in computer technology—in other words, the identification of malicious

computer code in computer networks is fundamentally and inextricably a problem experienced

with computer technology and networks— and addresses this fundamental computer technology

problem with a computer technology solution. Furthermore, the Advanced Malware Detection

Patents improve the technical functioning of the computer network using techniques—such as




                                                 11
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 12 of 144




analyzing behavioral information about or associated with computer objects and processes—to

improve network security by identifying malware more quickly and with less resources. These

technical improvements address identified weaknesses in conventional systems and processes.

(See, e.g., Exhibit 1, ’250 Patent, 2:5-3:18.)

       51.     In particular, the ’250 Patent describes and claims methods and systems that include

receiving behavioral data about or associated with a computer object from remote computers on

which the object or similar objects are stored; comparing in a base computer the data about the

computer object received from the remote computers; and, classifying the computer object as

malware on the basis of said comparison if the data indicates the computer object is malware. In

effect, this process builds a central picture of objects and their interrelationships and activities

across the entire community and allows automation of the process of identifying malware by

aggregating and comparing the activity of objects running across the community (i.e., on multiple

remote computers).

       52.     The ’250 Patent further provides that a mask is automatically generated for an

object that defines “acceptable behavior” for the object. The operation of the computer object is

then monitored and if the actual monitored behavior extends beyond that permitted by the mask,

the object is disallowed from running and reclassified as malware.

       53.     The claimed methods and systems of the ’250 Patent constitute technical

improvements over the traditional anti-malware systems and provide numerous advantages to

computer systems and the process of detecting malware. In addition to the advantages set forth

above, the methods and systems claimed in the ’250 Patent provide additional advantages in

dealing with objects that do not initially exhibit suspicious behavior, but later start to exhibit

malevolent behavior. Traditional malware systems could only mark a computer object as good or




                                                 12
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 13 of 144




bad (i.e., a binary decision), and did so by examining the signature of the object itself against a

database of “known bad” signatures. This approach does not permit the system to automatically

deal with the case where an object does not initially exhibit suspicious behavior but starts to exhibit

malevolent behavior in the future.

       54.     By contrast, the ’250 Patent improves these systems by generating an appropriate

behavior mask for the object and then continuing to monitor the behavior of the object. If the object

operates out of bounds of the permitted behavior, then an appropriate action is taken, such as

disallowing the computer object from running and reclassifying the object as malware. Thus, the

systems and methods described and claimed further the operation and security of the network by

stopping an object from running and changing the classification of an object in real-time when

unacceptable behavior is identified. (See Exhibit 1, ’250 Patent, 3:47-50; 4:19-30.)

       55.     Furthermore, the methods and systems claimed in the ’250 Patent, including

generating a “mask” of acceptable behavior, allowing an object to run, continuing to monitor the

object, and disallowing/reclassifying the object if the behavior extends beyond that permitted by

the mask, are not routine or conventional. For example, while a “safe,” mask-permitted version of

notepad.exe “would not be expected to perform a wide variety of events, such as transmitting data

to another computer or running other programs or running other programs” a “modified” and

potentially “malevolent” version of notepad.exe could perform those unexpected events. (See

Exhibit 1, ’250 Patent, 11:27-41.) Unlike traditional malware systems that would have already

made a binary determination that the notepad.exe object is safe, the methods and systems of the

’250 Patent re-classify that version of notepad.exe as malware when its behavior becomes

unexpected and “extends beyond that permitted by the mask.” (Id. at 4:19-30.)

       56.     The applicants provided another example illustrating the unconventional nature and




                                                  13
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 14 of 144




technical advantages and improvements, offered by the claimed systems and methods during

prosecution:

       As an example, suppose a new version of Internet Explorer appeared. This could
       be a legitimate update to Internet Explorer released by Microsoft or alternatively it
       could be a file infected with a virus. In the prior art, the new object would have an
       unknown signature, so an in-house analyst would laboriously analyse the new
       object and determine whether or not it was safe. Whilst this analysis is carried out,
       the object would either be blocked, which would cause huge inconvenience to users
       of the new object, or allowed to run, in which case there is a risk of the object
       performing malevolent acts. In contrast, the present invention would collect data at
       the base computer from remote computers running the new version of Internet
       Explorer. Using the information collected, the system could determine that the new
       object purports to be a new version of Internet Explorer. However, it may not be
       apparent at this point whether or not the new object is capable of malevolent
       behaviour. In this scenario the present invention generates an appropriate
       behavioural mask for the object, e.g. by using a profile of behaviour of previous
       versions of Internet Explorer that are known not to be malware, or by using a profile
       for the behaviour appropriate for a web browser. The remote computers are allowed
       to let the new version run whilst monitoring its behaviour against the mask. The
       instant the new object exhibits some new, malevolent behaviour, this can be
       stopped at the remote computer, as well as being flagged to the base computer and
       used at the base computer to change the classification of the object. Thus, the
       present invention allows an instant response to an object changing its behaviour to
       exhibit malevolent behaviour in the future. (See ’250 Patent Prosecution History,
       2010-09-07 Amendment at 18, 19.)

       57.     Similarly, the ’389 Patent describes and claims deploying an unconventional

“event” based model that classifies a particular object as malicious or safe by analyzing real-time

data sent by remote computers on the events, or actions, that a particular software “object,” and

other objects deemed similar to it, initiate or perform on those computers. (See Exhibit 2, ’389

Patent, 3:14-55.) This information is collected from across the network, correlated and used for

subsequent comparisons to new or unknown computer objects to identify relationships between

the correlated data and the new or unknown computer objects. The objects may be classified as

malware based on this comparison.

       58.     Through continuous aggregate analysis of events involving computer objects as




                                                14
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 15 of 144




they occur across network endpoints, the methods and systems described and claimed in the ’389

Patent maintain up-to-date information about computer objects (including malicious objects) seen

across the network, identify relationships between those previously identified objects and any new

or unknown objects, and make malware determinations based on those relationships. “For

example, a new object that purports to be a version of notepad.exe can have its behavior compared

with the behav[io]r of one or more other objects that are also known as notepad.exe … In this way,

new patterns of behav[io]r can be identified for the new object.” (Id. at 10:58-65.)

       59.      The methods and systems described and claimed in the ’389 Patent can rapidly

determine “the nature of the object,” (e.g., whether it is malicious or not) based on information

such as the behavior of the object or effects the object has, without requiring “detailed analysis of

the object itself as such” (manually reviewing the object’s code) or reliance on matching an

extensive database of known malicious “signatures.” (Id. at 3:14-24; Exhibit 1, ’250 Patent, 3:7-

18.)

       60.      The Advanced Malware Detection Patents provide systems and methods that

necessarily address issues unique to computer networks and computer network operation; namely

the identification of “bad” software (e.g., malware, viruses, etc.). These patents all provide unique

network security enhancement that solves the technical problem of rapidly identifying newly

arising and emerging malware by reviewing information about the object and processes (e.g., the

behaviors and events associated with software objects and processes running on computers within

the network).

       61.      The systems and methods claimed in the Advanced Malware Detection Patents

improve the operation of computer networks by identifying malicious objects in real-time and

taking action to remove or eliminate the threat posed by the malware object or process once it has




                                                 15
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 16 of 144




been identified. The claimed inventions in these patents provide a technological solution to a

technological problem--the inability of conventional code or signature matching solutions to

identify new or unknown malware objects or processes at or near the runtime of the objects or

processes themselves without the extensive delay and resource use associated with traditional

systems.

                                    Forensic Visibility Patents
                    U.S. Patent No. 9,578,045 and U.S. Patent No. 10,257,224

       62.     The ’045 and ’224 Patents are part of the same patent family and are each generally

directed to providing forensic visibility into computing devices in a communication network by

analyzing network events and creating audit trails. Plaintiff Webroot owns by assignment the entire

right, title, and interest in and to the ’045 and ‘224 Patents. Webroot has granted OpenText an

exclusive license to the ’045 and ’224 Patents.

       63.     The ’045 Patent is entitled “Method and Apparatus for Providing Forensic

Visibility into Systems and Networks,” was filed on May 5, 2014, and was duly and legally issued

by the USPTO on February 21, 2017. The ’045 Patent claims priority to provisional application

61/819,470 filed on May 3, 2013. A true and correct copy of the ’045 Patent is attached as Exhibit

3.

       64.     The ’224 Patent is also entitled “Method and Apparatus for Providing Forensic

Visibility into Systems and Networks,” was filed on February 20, 2017 and was duly and legally

issued by the USPTO on April 9, 2019. The ’224 Patent claims priority to the ’045 Patent and also

to provisional application 61/819,470 filed on May 3, 2013. A true and correct copy of the ’224

Patent is attached as Exhibit 4.

       65.     The ’045 and ’224 Patents describe and claim inventive and patentable subject

matter that significantly improves on traditional network forensic tools used to discover or identify



                                                  16
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 17 of 144




security issues on computer networks. Network forensics generally relates to intercepting and

analyzing network events to discover the source of security attacks. (See Exhibit 3, ’045 Patent,

1:22-24; Exhibit 4, ’224 Patent, 1:24-26.)

       66.     The ’045 and ’224 Patents improved on prior art network forensics tools by

providing a technical solution to a technical problem experienced by computer networks and

computer network operation. Unlike traditional network forensic tools, these patents create

forensic visibility into the computing devices on the communication network to identify malware

or other security issues in operation of those devices. (See Exhibit 3, ’045 Patent, 2:36-38; Exhibit

4, ’224 Patent, 2:38-40.)

       67.     In particular, the Forensic Visibility Patents improve network security by gathering

an “event,” generating “contextual state information,” obtaining a “global perspective” for the

event in comparison to other events, and generating/transmitting an “event line” that includes

information for the event. (See Exhibit 3, ’045 Patent, cl. 1; Exhibit 4, ’224 Patent, cl. 1.) The

described and claimed systems and methods intercept network events, create audit trails, or

contextual states, for each individual event by correlating the event to objects such as their

originating processes, devices, and/or users, and establishing a global perspective of the objects.

The claimed systems and methods of the Forensic Visibility Patents address an identified weakness

in conventional systems and processes; namely the ability to monitor, capture and/or analyze what

is occurring at computing devices on a computer network, thereby providing an improved way to

address the technical problem of discovering security attacks or security problems within a

computer network.

       68.     In addition to analyzing the behavior of an object to identify those that are

potentially malicious, malware detection is further improved by understanding the context of the




                                                 17
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 18 of 144




event and computer objects of interest. (See Exhibit 3, ’045 Patent, 2:39-45 (“The system filters

may be built upon the same or similar technology related to behavior monitoring and collection,

as discussed in U.S. application Ser. No. 13/372,375 filed Feb. 13, 2012, (Methods and Apparatus

for Dealing with Malware”)).) In particular, in many cases a potentially malicious object is

identified by the system as a result of other events that provide information as to whether the code

is malicious. For example, if an object or event under investigation originated from an object or

event that is known to be malicious or have malicious behaviors or characteristics, the presence of

the known, malicious object provides a further indication that the potentially malicious object or

event is malicious as well.

        69.     The patents further explain that in addition to context information, the systems and

techniques can also use information from the network to obtain a global perspective of the network

operation. The combination of contextual information and global perspective enables detection of

new zero-day threats, including objects created from objects (or similar objects) that have been

identified previously as malicious. Indeed, in the context of modern computers and network

systems that generate tens of millions of events every minute, the use of a global perspective and

contextual information to correlate an event or object under investigation with prior, related events

and objects—including the originating object—significantly improves the ability of the system to

identify potential threats.

        70.     The patents further disclose technical improvements to forensic systems by

“assembling” or “generating” an “event line” based on the contextual information—including the

correlation to the originating object—and global perspective. (See, e.g., Exhibit 3, ’045 Patent,

9:50-58.) The generation of the event line makes it easier for end users to “identify events, and/or

instances of malware, that require more immediate attention”—thereby improving the accuracy




                                                 18
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 19 of 144




and efficiency of identifying additional malicious code, as well as enabling administrators to more

readily analyze malware, assess vulnerabilities, and correct damage done by the originating objects

(and other objects in the event chain). (See Exhibit 3, ’045 Patent, 9:45-49.) The generation and

use of an event line itself was, at the time, an unconventional way in which event information,

contextual state information and global perspectives are generated, communicated, and/or

potentially displayed to, and interacted with by, an administrator or end user.

       71.     Thus, the ’224 and ’045 Patents describe and claim systems and methods that

provide technical advantages and improvements over traditional network security and forensic

systems, including more efficient and accurate identification of malware (e.g., the contextual and

global perspective information reduced false negative and positives for malware detection). The

described systems and methods also improved the identification of other malware (and

corresponding events) that might otherwise go undetected in prior systems, thereby improving

system performance and reducing the number of resources required.

       72.     Indeed, the described systems and methods enable end-to-end forensic visibility

into event occurrences across a networked environment and from the bottom of the stack to the

top, thereby improving upon conventional network forensic products. (See Exhibit 3, ’045 Patent,

2:31-38, 3:49-55; Exhibit 4, ’224 Patent, 2:33-40, 3:52-59; see also Exhibit 3, ’045 Patent, 4:36-

41; Exhibit 4, ’224 Patent, 4:39-44.)

       73.     Applicant further explained during prosecution how the generation of contextual

state information and obtaining a global perspective—including for objects and events other than

those that were detected, such as the originating object—are unconventional steps in the areas of

malware detection and network forensics. For example, Applicant explained how the described

systems and methods improve the system performance of computing devices:




                                                19
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 20 of 144




       In this case, the claimed invention provides for determining correlations between
       events and objects and creating an audit trail for each individual event. For example,
       a context analyzer may correlate an actor, victim, and/or event type to one or more
       originating processes, devices, and users. After the analysis is complete, a sensor
       agent may use the correlated data to generate a global perspective for each event
       such that an administrator is able to forensically track back any event which occurs
       to what triggered it. Thus, the global perspective represents a drastic transformation
       of raw event data into a comprehensive, system-wide forensic audit trail. (’045
       Patent Prosecution History, 2016-03-16 Amendment at 11-12.)

       In this case, examples of the claimed systems and methods provide low level system
       filters which intercept system events “in a manner such that the operation of the
       system filter does not impact system performance.” Specification, para. [0008]. For
       example, on an average system, because tens of millions of events take place every
       minute, the noise ratio can prevent forensic solutions from being able to provide
       sufficient value to the end consumer of their data due to the inability to quickly find
       important events. A product which impacts system performance will have
       considerably diminished value to an administrator and can negatively affect the
       results of an analysis undertaken. Examples of the present systems and methods
       address this shortcoming by providing a system filter that substantially improves
       the system performance of the computing devices in the system. (See ’045 Patent
       Prosecution History, 2016-03-16 Amendment at 12.)

       74.    During prosecution, Applicant further explained how the claims are directed to

solving a technical problem and a specific improvement in computer functionality relating to

computer security:

       [T]he claims are directed to solving a technical problem. Typically, network
       forensic systems use network forensic tools (e.g., network sniffers and packet
       capture tools) to detect and capture information associated with communication
       sessions. Although such network forensic tools are operable to passively collect
       network traffic, the tools reside at a network edge (e.g., outside of a system or
       hosts). As a result, the network forensic tools have no ability to obtain useful
       information within a host or to establish any sort of context from within a host that
       is generating and/or receiving network events. To address this, aspects of the
       present disclosure enable methods for providing forensic visibility into systems and
       networks. For example, a local aggregator/interpreter, context analyzer and sensor
       agent may provide visibility into occurrences across an environment to ensure that
       a user (e.g., an administrator) is aware of any system change and data
       communications in and out of the computing devices residing on the network.
       During this process, identified events may be correlated to objects, thus creating an
       audit trial [sic] for each individual event. (See ’045 Patent Prosecution History,
       2016-03-16 Amendment at 9-10. (emphasis added))




                                                 20
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 21 of 144




       Here, the claims are directed to a specific improvement in computer functionality
       relating to computer security, and more specifically to providing end-to-end
       visibility of events within a system and/or network. (See ’224 Patent Prosecution
       History, 2018-08-29 Amendment at 10-11 (citing ’224 Patent specification)
       (emphasis added).)

       The Specification subsequently discusses a variety of ways in which the claimed
       subject matter solves the above-described problem. For example: “It is, therefore,
       one aspect of the present disclosure to provide a system and method whereby events
       occurring within a computing device are captured and additional context and a
       global perspective is provided for each capture
       event. For example, a sensor agent may provide visibility into occurrences across
       an environment, such as a networked environment, to ensure that an administrator
       is aware of any system changes and data communication in and out of computing
       devices residing on the network.” (See ’224 Patent Prosecution History, 2018-08-
       29 Amendment at 11-12 (citing ’224 Patent specification).)

       75.     In response to these arguments, the Examiner withdrew a rejection based on 35

U.S.C. §101 and allowed the claims of the Forensic Visibility Patents to issue. As recognized by

the USPTO Examiner, the claimed inventions of the ’045 and ’224 Patents provide a technical

solution to the technical problem of forensic visibility regarding events in a computer network.

                                    US. Patent No. 10,284,591

       76.     U.S. Patent No. 10,284,591 is entitled “Detecting and Preventing Execution of Software

Exploits,” was filed on January 27, 2015 and was duly and legally issued by the USPTO on May 7,

2019. The ’591 patent claims priority to provisional application 61/931,772 filed January 27, 2014. A

true and correct copy of the ’591 Patent is attached as Exhibit 5. Plaintiff Webroot owns by assignment

the entire right, title, and interest in and to the ’591 Patent. Webroot has granted Plaintiff OpenText an

exclusive license to the ’591 Patent.

       77.     The ’591 Patent describes and claims an “anti-exploit” technique to prevent undesirable

software and/or other computer exploits from executing. (See Exhibit 5, ’591 Patent, 1:13-28, 1:32-33.)

Computer “exploits” include code, software, data, or commands that take advantage of a bug, glitch,

or vulnerability in a computer system. To accomplish this goal, the novel anti-exploit techniques



                                                 21
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 22 of 144




described and claimed in the ’591 Patent monitors memory space of a process for execution of functions

and performs “stack walk processing” upon invocation of a function in the monitored memory space.

(Id. at 1:33-39.) During that stack walk processing, a memory check may be performed to detect

suspicious behavior. (Id.) If the memory check detects certain types of suspicious behavior, an alert

may be triggered that prevents the execution of a payload for the invoked function. (Id. at 1:39-48.)

       78.     The ’591 Patent describes and claims unconventional “stack walk processing”

techniques for detecting and preventing unwanted software exploits during which memory checks are

performed before an address of an originating caller function is reached. The anti-exploit techniques

can include performing “memory checks performed during the stack walk processing once an address

is reached for an originating caller function.” (Id. at 8:6-7.) In one embodiment, “memory checks from

the lowest level user function of the hooked function down through the address of the originating caller

function” may be performed to detect and identify suspicious behavior. (Id. at 6:7-11.)

       79.     The “stack walking” and “memory checks” described and claimed in the ’591 Patent are

fundamentally rooted in computer technology—in fact, they are processes only performed within a

computer context. The techniques described and claimed in the ’591 Patent addresses a problem that

specifically arises in the realm of computer technology (namely, computer exploit identification) by,

inter alia, performing memory checks and detection specified behavior during stack walking.

       80.     The ’591 Patent further describes and claims unconventional techniques that address

identified weaknesses in conventional exploit prevention technologies. For example, unlike exploit

prevention technologies that try to prevent an exploit from ever starting its own shellcode to execute a

malicious payload, the ’591 Patent describes and claims techniques that prevent shellcode from

executing a malicious payload even if the shellcode has been started. (Id. at 6:24-30; see also 7:56-62.)

Thus, these unconventional techniques address an identified weakness in conventional exploit




                                                22
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 23 of 144




prevention systems and provide technical advantages including enhanced security protection, improved

detection of potential security exploits, reduction in error rate identifying and marking suspicious

behavior (e.g., false positives), and improved usability and interaction for users who are not required

to continuously monitor for security exploits. (Id. at 2:44-51.) As such, the ’591 Patent describes and

claims specific computer-related technological steps to accomplish an improvement in computer

security and functionality and is directed to a specific technological solution to a problem unique to

computers.

                                    U.S. Patent No. 10,599,844

       81.     The ’844 Patent is entitled “Automatic Threat Detection of Executable Files Based

on Static Data Analysis,” was filed May 12, 2015 and was duly and legally issued by the USPTO

on March 24, 2020. A true and correct copy of the ’844 Patent is attached as Exhibit 6. Plaintiff

Webroot owns by assignment the entire right, title, and interest in and to the ’844 Patent. Webroot

has granted Plaintiff OpenText an exclusive license to the ’844 Patent.

       82.     The ’844 Patent addresses and improves upon conventional approaches to malware

detection in computer networks and computer network operation. Every day, an uncountable

number of new executable files are created and distributed across computer networks. Many of

those files are unknown, and malicious. It is, thus, vital to accurately and immediately diagnose

those files for any potential threat, while also efficiently using resources (e.g., processing power).

(See Exhibit 6, ’844 Patent, 1:7-13.)

       83.     Conventional approaches for diagnosing potential malware threats were costly and

time consuming, making it difficult to realistically address zero-day threats for all of the files

entering a system. These “[a]pproaches to detecting threats typically focus[ed] on finding

malicious code blocks within a file and analyzing the behavior of the file.” (See Exhibit 6, ’844



                                                 23
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 24 of 144




Patent, 2:15-17.) Encrypted files would be decrypted then disassembled to extract the code for

analysis, typically by traditional anti-virus software based on signature matching. (Id. at 2:15-20.)

If the code was malware, investigating its behavior involved running the code on the system, which

put the system at risk. (Id. at 2:20-23.)

        84.     Another approach for protecting against potential threats from unknown executable

files involved wavelet decomposition to determine software entropy. (See '844 Patent Prosecution

History, April 24, 2019 Applicant Remarks, at 8.) Wavelet decomposition is a process where an

original image is decomposed into a sequence of new images, usually called wavelet planes. (Id.)

In this method, each data file in a set of data files is split into random, non-overlapping file chunks

of a fixed length. (Id.) Those file chunks are then represented as an entropy time-series, which

measures the time it takes for each chunk to decompose. (Id.) Said differently, this approach

measured how much time it took a data file to decompose. (Id.) Once the file decomposition rate,

or entropy time-series, had been calculated, that rate would be compared to decomposition rates

of “known bad” files to identify files that contain malware. (Id. at 9.) This process required

significant computing resources—typically taking hours to complete—and was not sufficiently

accurate in identifying malware.

        85.     The ’844 Patent significantly improved upon and addressed shortcomings

associated with these prior approaches. The ’844 Patent describes and claims methods and systems

that detect threats in executable files without the need to decrypt or unpack those executable files

by extracting “static data points inside of the executable file without decrypting or executing the

file,” generating “feature vectors” from those static data points, selectively turning on or off

features of the feature vector, and then evaluating the feature vector to determine if the file is

malicious. (See, e.g., Exhibit 6, ’844 Patent, 1:20-21; cl. 1.) The described system and methods




                                                  24
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 25 of 144




enable accurate and efficient identification of malware without the need to distinguish between

encrypted files and non-encrypted files (id. at 6:58-59), thereby significantly increasing efficiency

and reducing processing resources required to analyze each potentially malicious computer object.

By using this unconventional approach to determine whether a file executable on a computer poses

a threat, the ’844 Patent improves on the operation of the computer network associated with the

computer by enhancing security, including by increasing detection of new threats, reducing the

error rates in identifying suspicious files, and improving efficiency in detecting malicious files.

(See Exhibit 6, ’844 Patent, 2:46-56.)

       86.     The ’844 Patent describes and claims techniques that employ a learning classifier

(e.g., a machine-learning classifier) to determine whether an executable file is malicious, for

example by using the classifier to classify data into subgroups and identify and analyze specific

data points to which those subgroups correspond. (See Exhibit 6, ’844 Patent, 4:33-41, 7:40-8:1.)

The described and claimed technique also selectively turns on or off features for evaluation by the

learning classifier. (See id. at 7:57-66.) Doing so accelerates analysis and reduces false positives

by testing those features of a file likely to be relevant to a determination of its maliciousness. For

example, the learning classifier “may detect that the file does not contain ‘legal information’,”

such as “timestamp data, licensing information, copyright information, etc.” (See id. at 7:66-8:5.)

In this example, given the lack of legal protection information in the file, the learning classifier

would “adaptively check” the file for additional features that might be indicative of a threat,” while

“turn[ing] off,” and thus not use processing time unnecessarily checking features related to an

evaluation of “legal information.” (Id. at 8:5-10.)

       87.     Second, the ’844 Patent describes and claims techniques that use character strings

extracted from within the executable file to generate a feature vector and then evaluates that feature




                                                 25
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 26 of 144




vector using support vector processing to classify executable files. (See Exhibit 6, ’844 Patent, 9:2-

11.) The classifier provides, for example, the ability to leverage the indicia of “benign” files, which

use “meaningful words” in certain data fields, versus “malicious” files, which leave such fields

empty or full of “random characters,” to build meaningful feature vectors that are analyzed to make

faster and more identifications of malware (See, e.g., Exhibit 6, ’844 Patent, 9:2-18.)

       88.       The ’844 Patent is thus directed to specific solutions to problems necessarily rooted

in computer technology, namely, the determination whether a file executable on a computer poses

a threat. The ’844 Patent improved upon the accuracy and efficiency of malware detection. (See

Exhibit 6, ’844 Patent, 2:15-45.)

       89.       By using some or all of the unconventional techniques described above to

determine whether a file executable on a computer poses a threat, the ’844 Patent addresses a

problem necessarily involving computers and improves upon the operation of computer networks.

In particular, the ’844 Patent achieves a number of technical advantages over conventional

approaches to malware detection including, for example:

             •   enhanced security protection including automatic detection of threats,

                 reduction or minimization of error rates in identification and marking of

                 suspicious behavior or files (e.g., cut down on the number of false

                 positives),

             •   ability to adapt over time to continuously and quickly detect new threats or

                 potentially unwanted files/applications,

             •   improved efficiency in detection of malicious files, and

             •   improved usability and interaction for users by eliminating the need to

                 continuously check for security threats.



                                                  26
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 27 of 144




(See Exhibit 6, ’844 Patent, 2:15-57.)

                                     U.S. Patent No. 9,413,721

       90.     The ’721 Patent is entitled “Methods and Apparatus for Dealing with Malware,”

was filed on February 13, 2012, and duly and legally issued by the USPTO on February 5, 2013.

A true and correct copy of the ’721 Patent is attached as Exhibit 7. Plaintiff Webroot owns by

assignment the entire right, title, and interest in and to the ’721 Patent. Webroot has granted

Plaintiff OpenText an exclusive license to the ’721 Patent.

       91.     The systems and methods described and claimed in the ’721 Patent are directed to

improved techniques for detecting and classifying malware, a technological problem

fundamentally and inextricably associated with computer technology and computer networks. The

’721 Patent explains that prior anti-malware products used signature matching to detect malware,

either locally or at a central server. (Exhibit 7, ’721 Patent, 1:37-2:14.) The local anti-malware

product suffered from delays in identifying new malware threats and obtaining signatures for them

so they could be blocked. (Id. at 1:37-55.) Central servers stored signatures in the cloud. (Id. at 56-

57.) But only signature or very basic information was sent to the central server for matching. (Id.

at 1:67-2:2.) If the object was unknown, a copy had to be sent to the central server for investigation

by a human, a time consuming and laborious task. (Id. at 2:5-7.) In a network environment, it was

unrealistic for a human to investigate each new object due to the high volume of incursions that

take place over a network. (Id. at 2:7-10.) Thus, under these approaches, “malevolent objects may

escape investigation and detection for considerable periods of time.” (Id. at 2:10-13.)

       92.     To address these shortcomings, the ’721 Patent describes and claims

unconventional, novel distributed system architectures, such as remote computers that may be

allocated to “threat” servers, with “central” servers sitting behind them. (Exhibit 7, ’721 Patent,




                                                  27
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 28 of 144




9:16-57.) These enhanced computer architectures provide a technical solution to the technical

problem of detecting and classifying malware in a computer network environment, thus improving

network security while identifying and classifying malware threats in real-time without delays

engendered by use of human analysts. (See, e.g., Exhibit 7, ’721 Patent, 1:60-2:7)

       93.     In particular, the ’721 Patent described and claims embodiments that may include

three-tiered architectures of remote computers, threat servers, and a central server that provides a

technical enhancement to the computer network itself (improving upon the two-tiered architectures

of traditional systems having only remote computers and a central server) by enabling the central

server to keep a master list “of all data objects, their metadata and behaviour seen on all of the

remote computers” and propagate it back to the threat servers. (Exhibit 7, ’721 Patent 12:28-54.)

This novel network architecture improves the operation of the computer network over traditional

networks because, for example and as described in the ’721 Patent, “[t]his scheme has been found

to reduce workload and traffic in the network by a factor of about 50 compared with a conventional

scheme.” (Id. at 12:55-57.)

       94.     Further, “by being able to query and analyze the collective view of an object, i.e.,

its metadata and behaviours, across all agents [] that have seen it, a more informed view can be

derived, whether by human or computer, of the object. In addition, it is possible to cross-group

objects based on any of their criteria, i.e. metadata and behaviour.” (Id. at 18:17-22.) Thus,

embodiments enable better malware identification than conventional systems (e.g., using human

analysis) in addition to providing an efficiency benefit. The patent explicitly notes that “the work

in processing the raw data [] is too large of a task to be practical for a human operator to complete.”

(Id. at 18:50-52.)

       95.     The systems and methods described and claimed in the ’721 patent provide further




                                                  28
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 29 of 144




technical improvements. For example, the information collected at the central server includes

addition information about the object being classified as well as a count associated with the number

of times that the first computer object has been seen to the central server. (Id. at cl. 1) As explained

above, using information about the object (such as behavior information) being classified, the

systems and methods described and claimed in the ’721 Patent provide an approach that is more

effective than traditional code or signature matching techniques for classifying objects as

malicious. (Id. at 1:54-2:14.)

       96.     Prior methods of classifying malware had technical drawbacks when used on a

distributed network. For example, a distributed network that required each server to maintain rules

for determining what is malware required each server to deal with huge amounts of largely

common data. (Exhibit 7, ’721 Patent, 12:20-24.) It was also generally impractical to store the

required data on each server because, for example, there were problems determining whether or

not the data—which is both massive and constantly changing—is common and up-to-date in real-

time. (Id. at 12:24-27.) The 3-tiered architectures described and claimed in embodiments of the

’721 Patent provides a technical solution for distributed computer networks by, inter alia, reducing

the workload across the network. (Id. at 12:28-59.)

       97.     Accordingly, the ’721 Patent discloses and claims, among other things, an

unconventional technological solution to the inherently computer-network centric technical issue

of identifying malware in computer systems. The solution implemented by the ’721 Patent

provides a specific and substantial improvement over prior malware classification systems, for

example by introducing novel computer network architecture elements combined in an

unconventional manner. These approaches improve the function and working of malware detection

services by, for example, utilizing multiple threat servers and central servers and performing the




                                                  29
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 30 of 144




analysis and communication carried out by each type of server in an unconventional and efficient

manner. (See, e.g., Exhibit 7, ’721 Patent, cl. 1.) These elements and their combination represent

a marked improvement in the functioning of computer systems utilized to identify and detect

malware in computers networks.

                                    ACCUSED PRODUCTS

       98.     Defendant offers and sells the Accused Products including Sophos’ Intercept X

Advanced with EDR and XDR, Sophos Web Appliance, Sophos XG Firewall, and Sophos’

Synchronized Security, as well as products and services with similar functionality. These products

provide and implement malware detection, network security, and endpoint protection platforms

for individuals and enterprises and incorporate Plaintiffs’ patented technologies.

       99.     Sophos’ Intercept X Advanced with XDR (“Intercept X”), formerly known as

Intercept X Advanced with EDR, is an endpoint protection platform that establishes forensic attack

chains for infections and leverages machine learning techniques to detect malware.




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html.)

       100.    Sophos’ Synchronized Security is an integrated cybersecurity platform that



                                                30
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 31 of 144




manages Sophos’ endpoint security software products, such as XG Firewall and Intercept X, from

a central point via a cloud-based Control Center. It receives “Security Heartbeat[s]” that share

“health, security and security information” from Sophos’ endpoint security products installed on

various endpoints across a network protected by Synchronized Security.

       101.    The Sophos Synchronized Security Control Center’s dashboard displays

information about endpoints in the network. The details of this information include the name of

the computer, IP address, operating system, the Sophos security products installed on the endpoint,

and the health status of the endpoint.




                                                31
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 32 of 144




(See https://www.sophos.com/en-us/medialibrary/PDFs/factsheets/sophos-quick-start-guide-

synchronized-security.pdf; see also https://docs.sophos.com/nsg/sophos-firewall/17.5/Help/en-

us/webhelp/onlinehelp/nsg/sfos/concepts/SSLVPNLiveUsersManage.html.)

                               FIRST CAUSE OF ACTION
                         (INFRINGEMENT OF THE ’250 PATENT)

       102.    Plaintiffs reallege and incorporate by reference the allegations of the preceding

paragraphs of this Complaint.

       103.    Defendant has infringed and continue to infringe one or more claims of the ’250

Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the United States and will

continue to do so unless enjoined by this Court. the Accused Products, including features such as

Intercept X Advanced with XDR (“Intercept X”), at least when used for their ordinary and

customary purposes, practice each element of at least claim 1 of the ’250 Patent as described below.

       104.    For example, claim 1 of the ’250 Patent recites:

               1.     A method of classifying a computer object as malware,
               the method comprising:

               at a base computer, receiving data about a computer object from each of
       plural remote computers on which the object or similar objects are stored, the data
       including information about the behaviour of the object running on one or more
       remote computers;

              determining in the base computer whether the data about the computer object
       received from the plural computers indicates that the computer object is malware;


                                                32
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 33 of 144




             classifying the computer object as malware when the data indicates that the
       computer object is malware; when the determining does not indicate that the
       computer object is malware, initially classifying the computer object as not malware;

              automatically generating a mask for the computer object that defines
       acceptable behaviour for the computer object, wherein the mask is generated in
       accordance with normal behaviour of the object determined from said received data;

              running said object on at least one of the remote computers;

              automatically monitoring operation of the object on the at least one of the
       remote computers;

             allowing the computer object to continue to run when behaviour of the
       computer object is permitted by the mask:

               disallowing the computer object to run when the actual monitored behaviour
       of the computer object extends beyond that permitted by the mask; and,

              reclassifying the computer object as malware when the actual monitored
       behaviour extends beyond that permitted by the mask.

       105.    The Accused Products perform each element of the method of claim 1 of the ’250

Patent. To the extent the preamble is construed to be limiting, the Accused Products perform a

method for classifying a computer object as malware, as further explained below. For example,

Intercept X with XDR (“Intercept X”) “scans across [the] entire environment and highlight[s]

suspicious activity, anomalous behavior and other IT issues.” Intercept X displays “threats,”

including processes classified as malware, in its “Sophos Central” and “Threat Analysis Center”

dashboards.




                                               33
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 34 of 144




(See https://secure2.sophos.com/en-us/medialibrary/Gated-Assets/white-papers/sophos-xdr-

beginner-guide.pdf.)

       106.   The Accused Products perform a method that includes receiving data at a base

computer about a computer object from each of plural remote computers on which the object or

similar objects are stored, the data including information about the behaviour of the object

running on one or more remote computers. For example, each endpoint on which Intercept X is

installed sends data about the processes executing on it to the cloud-based “Sophos Central”

computer which stores that data in a database and manages endpoints, which include remote

computers, within a network. This data includes information about the behavior of an object

running on one or more remote computers. For example, data can be queried from each endpoint

using “Live Discover” SQL queries through the “Threat Analysis Dashboard,” to detect, for

example, processes (running objects) that have made “[u]nusual changes to the registry” or to

“search devices for signs of a suspected or known threat if Sophos Central has found the threat

elsewhere.” Data about each process is automatically analyzed, marked as a “threat case” if

appropriate, and displayed as such in the “Threat Analysis Center.” Moreover, such data is also

periodically uploaded by each endpoint to a cloud-based computer “Data Lake,” which can be

queried, for example, to obtain data about which processes executed on a given endpoint.

Live Discover

                                              34
             Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 35 of 144



    Live Discover allows you to check the devices that Sophos Central is managing, look for signs of a threat,
    or assess compliance.
    You can use Live Discover queries to search devices for signs of threats that haven’t been detected by
    other Sophos features. For example:

    •   Unusual changes to the registry.

    •   Failed authentications.

    •   A process running that is very rarely run.
    You can also search devices for signs of a suspected or known threat if Sophos Central has found the
    threat elsewhere, or if a user reports suspicious behavior on their device.
    You can also check the compliance of each device. For example, you can search for out-of-date software
    or browsers with insecure settings.
    This page tells you how to use Live Discover. You can also familiarize yourself with it by completing
    the Sophos XDR Training.


    How queries work
    We provide a range of queries for you to use to check your devices. You can use them as they are, or
    edit them (you'll need to be familiar with osquery or SQL). You can also create queries.
    You can run queries to get information from different sources:

    •   Endpoint queries get the latest information from devices that are currently connected.



    (See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/learningContents/

    LiveDiscover.html; see also https://community.sophos.com/intercept-x-endpoint/b/blog/posts/

    introducing-the-new-threat-analysis-center.)

    Data Lake queries
    Data Lake queries let you search security and compliance data that your devices upload to the cloud.
    You can run Data Lake queries with Live Discover, a feature in our Threat Analysis Center.
    Live Discover now lets you choose which data source you use when you set up and run a query:

•   Endpoints that are currently connected.

•   The Data Lake in the cloud.
    For help with Live Discover see Live Discover.

    How the Data Lake works
    We host the Data Lake and provide scheduled “hydration queries” that define which data your endpoints
    upload to it.
    However, before you use Data Lake queries, you must make sure that data is being uploaded. To turn on
    uploads of data, see Data Lake uploads.
    We store the data for 30 days.




                                                        35
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 36 of 144



We provide pre-prepared Data Lake queries you can run. You can use them as they are or edit them. You
can also create your own queries.


(See https://docs.sophos.com/central/Customer/help/en-

us/central/Customer/concepts/DataLakeQueries.html.)

       107.    The Accused Products perform a method that includes determining in the base

computer whether the data about the computer object received from the plural computers indicates

that the computer object is malware. For example, each endpoint on which Intercept X is installed

sends data about the processes executing on it to the cloud-based “Sophos Central” computer,

which stores that data in a database and manages endpoints (including remote computers), within

a network. This data includes information about the behavior of an object running on one or more

remote computers. For example, data can be queried from each endpoint using “Live Discover”

SQL queries through the “Threat Analysis Dashboard,” to detect, for example, processes (running

objects) that have made “[u]nusual changes to the registry” or to “search devices for signs of a

suspected or known threat if Sophos Central has found the threat elsewhere.” Data about each

process is automatically analyzed, marked as a “threat case” if appropriate, and displayed as such

in the “Threat Analysis Center.” Moreover, such data is also periodically uploaded by each

endpoint to a cloud-based computer “Data Lake,” which can be queried, for example, to obtain

data about which processes executed on a given endpoint.




                                                 36
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 37 of 144




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_USl.)

       108.    The Accused Products perform a method that includes classifying the computer

object as malware when the data indicates that the computer object is malware; when the

determining does not indicate that the computer object is malware, initially classifying the

computer object as not malware. For example, as explained above, the Accused Products use the

data on processes that each endpoint sends to Sophos Central to determine whether those processes

constitute malware. In the example below, Sophos Central has identified that the process

“silentrep.exe” is a “threat case” and a variant of the malware class “ML/PE-A.” When the data

that Sophos Central receives does not indicate that the process is malware or potentially malicious,

that process is not initially marked as a “threat case.”




                                                  37
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 38 of 144




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_USl; see also

https://community.sophos.com/intercept-x-endpoint/b/blog/posts/introducing-the-new-threat-

analysis-center.)




                                             38
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 39 of 144




       109.    The Accused Products perform a method that includes automatically generating a

mask for the computer object that defines acceptable behavior for the computer object, wherein

the mask is generated in accordance with normal behavior of the object determined from said

received data. For example, the Accused Products assess “threat cases” by detecting illicit

behaviors (e.g., behaviors that are not normal for the object) such as the modification of “registry

keys.” In particular, in the example shown below, the “Analyze” tab of a “threat case” displayed

in the “Threat Analytics Center” illustrates the illicit execution, on an infected endpoint device, of

the suspicious process “431.exe” by Microsoft Powershell, which is marked as the “Beacon,” and

the subsequent modification of “registry keys” by the file “431.exe” on the infected endpoint. The

process “431.exe” is quarantined after its behavior is detected as being malicious.




                                                 39
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 40 of 144




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_US.)

       110.    Based on the data that it received about the behavior of processes (e.g., “431.exe”

and the behavior of the process “Microsoft PowerShell,” which executed “431.exe”), Sophos

Central determined that PowerShell exceeded the scope of normal behavior by being launched

“with an obfuscated and very suspicious command line” and that “431.exe” illicitly modified

registry keys and was written to “the users AppData location,” which is “typically meant for data

not executable,” resulting in its quarantine. As such, Sophos Central defines what is typical or

normal behavior for both malware and non-malware. For example, it explains that “[o]bfuscation

is very typical in malicious code and is designed to hide the true goal behind the code.” In another

example, when one command shell launches anther command shell, that behavior is deemed

suspicious, meaning that when one command shell does not invoke another, it is deemed non-


                                                40
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 41 of 144




malware behavior: “We can also see that when CMD was launched it then launched another copy

of CMD, this one with a similar suspicious command line.”




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_US.)

       111.    The Accused Products perform a method that includes running said object on at

least one of the remote computers and automatically monitoring operation of the object on the at

least one of the remote computers. As explained above, the Accused Products identify “threat

cases” as they occur on each endpoint. In particular, in the example shown above, the “Analyze”

tab of a “threat case” displayed in the “Threat Analytics Center” illustrates the illicit execution, on

an infected endpoint device, of the suspicious process “431.exe” by Microsoft Powershell, which



                                                  41
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 42 of 144




is marked as the “Beacon,” and the subsequent modification of “registry keys” by the file

“431.exe” on the infected endpoint. The process “431.exe” was initially allowed to execute until

it suspiciously modified registry keys, at which point it was classified as malware and quarantined.

       112.    The Accused Products perform a method that includes allowing the computer object

to continue to run when behaviour of the computer object is permitted by the mask and disallowing

the computer object to run when the actual monitored behaviour of the computer object extends

beyond that permitted by the mask. As explained and shown in the example above, the “Analyze”

tab of a “threat case” displayed in the “Threat Analytics Center” illustrates the illicit execution, on

an infected endpoint device, of the suspicious process “431.exe” by Microsoft Powershell, which

is marked as the “Beacon,” and the subsequent modification of “registry keys” by the file

“431.exe” on the infected endpoint. The process “431.exe” was allowed to execute until it

suspiciously modified registry keys, at which point it was quarantined.

       113.    The Accused Products perform a method that includes reclassifying the computer

object as malware when the actual monitored behaviour extends beyond that permitted by the

mask. As explained above, and as shown in the example above, the “Analyze” tab of a “threat

case” displayed in the “Threat Analytics Center” illustrates the illicit execution, on an infected

endpoint device, of the suspicious process “431.exe” by Microsoft Powershell, which is marked

as the “Beacon,” and the subsequent modification of “registry keys” by the file “431.exe” on the

infected endpoint. The process “431.exe” was initially allowed to execute until it suspiciously

modified registry keys, at which point it was classified as malware and quarantined.

       114.    In another example, the Accused Products detected that the process “silentrep.exe”

was a variant of the malware class “ML/PE-A” and re-classified it as such.




                                                  42
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 43 of 144




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_USl.)

       115.    Each claim in the ’250 Patent recites an independent invention. Neither claim 1,

described above, nor any other individual claim is representative of all claims in the ’250 Patent.




                                                43
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 44 of 144




       116.    Defendant has been aware of the ’250 Patent since at least the filing of this

Complaint. Further, Plaintiffs have marked their products with the ’250 Patent, including on its

web site, since at least July 2020.

       117.    Defendant directly infringes at least claim 1 of the ’250 Patent, either literally or

under the doctrine of equivalents, by performing the steps described above. For example, on

information and belief, Defendant performs the claimed method in an infringing manner as

described above by running this software and system to protect its own computer and network

operations. On information and belief, Defendant also performs the claimed method in an

infringing manner when testing the operation of the Accused Products’ and corresponding systems.

As another example, Defendant performs the claimed method when providing or administering

services to third parties, customers, and partners using the Accused Products.

       118.    Defendant’s partners, customers, and end users of its Accused Products and

corresponding systems and services directly infringe at least claim 1 of the ’250 Patent, literally or

under the doctrine of equivalents, at least by using the Accused Products and corresponding

systems and services, as described above.

       119.    Defendant has actively induced and is actively inducing infringement of at least

claim 1 of the ’250 Patent with specific intent to induce infringement, and/or willful blindness to

the possibility that its acts induce infringement, in violation of 35 U.S.C. § 271(b). For example,

Defendant encourages and induces customers to use Sophos’ security software in a manner that

infringes claim 1 of the ’250 Patent at least by offering and providing software that performs a

method that infringes claim 1 when installed and operated by the customer, and by engaging in

activities relating to selling, marketing, advertising, promotion, installation, support, and

distribution of the Accused Products.




                                                 44
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 45 of 144




         120.     Defendant encourages, instructs, directs, and/or requires third parties—including

their certified partners and/or customers—to perform the claimed method using the software,

services, and systems in infringing ways, as described above.

         121.     Defendant further encourages and induces their customers to infringe claim 1 of the

’250 Patent: 1) by making its security services available on its website, providing applications that

allow users to access those services, widely advertising those services, and providing technical

support and instructions to users, and 2) through activities relating to marketing, advertising,

promotion, installation, support, and distribution of the Accused Products, including their Sophos

security software, and services in the United States. (See https://www.sophos.com/en-

us/products/endpoint-antivirus/how-to-buy.aspx;        https://partners.sophos.com/english/directory/

search?lat=30.267153&lng=-97.7430608&dMI=100&p=1;                 https://secure2.sophos.com/en-us/

security-news-trends/whitepapers/gated-wp/cybersecurity-system-buyers-guide.aspx%23form

Frame;      see       also    https://www.sophos.com/en-us/medialibrary/PDFs/factsheets/sophos-

synchronized-security-ds.pdf.)

         122.     For example, on information and belief, Defendant shares instructions, guides, and

manuals, which advertise and instruct third parties on how to use the software as described above,

including at least customers and partners. (Id.) On further information and belief, Defendant also

provides customer service and technical support to purchasers of the Accused Products and

corresponding systems and services, which directs and encourages customers to perform certain

actions that use the Accused Products in an infringing manner. (Id.)

         123.     Defendant and/or its partners recommend and sell the Accused Products and

provide technical support for the installation, implementation, integration, and ongoing operation

of the Accused Products for each individual customer. On information and belief, each customer




                                                  45
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 46 of 144




enters into a contractual relationship with Defendant and/or one of its partners, which obligates

each customer to perform certain actions in order to use the Accused Products. Further, in order to

receive the benefit of Defendant and/or its partner’s continued technical support and their

specialized knowledge and guidance of the operability of the Accused Products, each customer

must continue to use the Accused Products in a way that infringes the ’250 Patent.

        124.    Further, as the entity that provides installation, implementation, and integration of

the Accused Products in addition to ensuring the Accused Product remains operational for each

customer through ongoing technical support, on information and belief, Defendant and/or its

partners affirmatively aid and abet each customer’s use of the Accused Products in a manner that

performs the claimed method of, and infringes, the ’250 Patent.

        125.    Defendant also contributes to the infringement of its partners, customers, and end-

users of the Accused Products by providing within the United States or importing into the United

States the Accused Products, which are for use in practicing, and under normal operation practice,

methods claimed in the Asserted Patents, constituting a material part of the inventions claimed,

and not a staple article or commodity of commerce suitable for substantial non-infringing uses.

Indeed, as shown above, the Accused Products and the example functionality have no substantial

non-infringing uses but are specifically designed to practice the ’250 Patent.

        126.    On information and belief, the infringing actions of each partner, customer, and/or

end-user of the Accused Products are attributable to Defendant. For example, on information and

belief, Defendant directs and controls the activities or actions of its partners or others in connection

with the Accused Products by contractual agreement or otherwise requiring partners or others to

provide information and instructions to customers who acquire the Accused Products which, when

followed, results in infringement. Defendant further directs and controls the operation of devices




                                                  46
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 47 of 144




executing the Accused Products by programming the software which, when executed by a

customer or end user, perform the claimed method of at least claim 1 of the ’250 Patent.

       127.    Plaintiffs have suffered and continue to suffer damages, including lost profits, as a

result of Defendant’s infringement of the ’250 Patent. Defendant is therefore liable to Plaintiffs

under 35 U.S.C. § 284 for damages in an amount that adequately compensates Plaintiffs for

Defendant’s infringement, but no less than a reasonable royalty.

       128.    Plaintiffs will continue to suffer irreparable harm unless this Court preliminarily

and permanently enjoins Defendant, its agents, employees, representatives, and all others acting

in concert with Defendant from infringing the ’250 Patent.

       129.    Defendant’s infringement of the ’250 Patent is knowing and willful. Defendant had

actual knowledge of the ’250 Patent at least by the time Plaintiffs filed this lawsuit and had

constructive knowledge of the ’250 Patent from at least the date Plaintiffs marked their products

with the ’250 Patent and/or provided notice of the ’250 Patent on their website.

       130.    On information and belief, despite Defendant’s knowledge of the Asserted Patents

and Plaintiffs’ patented technology, Defendant made the deliberate decision to sell products and

services that they knew infringe these patents. Defendant’s continued infringement of the ’250

Patent with knowledge of the ’250 Patent constitutes willful infringement.

                              SECOND CAUSE OF ACTION
                         (INFRINGEMENT OF THE ’389 PATENT)

       131.    Plaintiffs reallege and incorporate by reference the allegations of the preceding

paragraphs of this Complaint.

       132.    Sophos has infringed and continues to infringe one or more claims of the ’389

Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the United States and will

continue to do so unless enjoined by this Court. The Accused Products, including features such as



                                                47
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 48 of 144




Intercept X Advanced with XDR (“Intercept X with XDR”), at least when used for their ordinary

and customary purposes, practice each element of at least claim 1 of the ’389 Patent as described

below.

         133.   For example, claim 1 of the ’389 Patent recites:

               1. A method of classifying a computer object as malware, the method
         comprising:

                  at a base computer, receiving data about a computer object from a first
         remote computer on which the computer object or similar computer objects are
         stored, wherein said data includes information about events initiated or involving
         the computer object when the computer object is created, configured or runs on the
         first remote computer, said information including at least an identity of an object
         initiating the event, the event type, and an identity of an object or other entity on
         which the event is being performed;

                 at the base computer, receiving data about the computer object from a
         second remote computer on which the computer object or similar computer objects
         are stored, wherein said data includes information about events initiated or
         involving the computer object when the computer object is created, configured, or
         runs on the second remote computer, said information including at least an identity
         of an object initiating the event, the event type, and an identity of an object or other
         entity on which the event is being performed;

                storing, at the base computer, said data received from the first and second
         remote computers;

                correlating, by the base computer, at least a portion of the data about the
         computer object received from the first remote computer to at least a portion of the
         data about the computer object received from the second remote computer;

                 comparing, by the base computer, the correlated data about the computer
         object received from the first and second remote computers to other objects or
         entities to identify relationships between the correlated data and the other objects
         or entities; and

                 classifying, by the base computer, the computer object as malware on the
         basis of said comparison.


         134.   The Accused Products perform each of the method steps of claim 1 of the ’389

Patent. To the extent the preamble is construed to be limiting, the Accused Products perform a



                                                   48
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 49 of 144




method of classifying a computer object as malware, as further explained below. For example,

Intercept X with XDR (“Intercept X”) “scans across [the] entire environment and highlight[s]

suspicious activity, anomalous behavior and other IT issues.” Intercept X displays “threats,”

including processes classified as malware, in its “Sophos Central” and “Threat Analysis Center”

dashboards.

   XDR builds upon that solid foundation by adding even more data and context that both increases
   visibility and gives the user even more insight during an investigation. This results in faster and
   more accurate incident detection and response. Additional data sources can include firewall, email,
   cloud and mobile information. For example, adding in firewall data makes it simple to correlate a
   malicious traffic detection by the firewall with a compromised endpoint, or to see which application
   is causing the office network connection to run slowly.

   One of the most valuable ways to use XDR is to begin with the ‘macro’ spotlight that gives you the
   tools to quickly scan across your entire environment and highlight suspicious activity, anomalous
   behavior and other IT issues. When an issue is identified you can then hone-in on a device of
   interest, pulling live data or remotely accessing the device in order to dig deeper and take remedial
   action.

(See https://secure2.sophos.com/en-us/medialibrary/Gated-Assets/white-papers/sophos-xdr-

beginner-guide.pdf; see also https://community.sophos.com/intercept-x-endpoint/b/blog/posts/

introducing-the-new-threat-analysis-center.)

       135.    The Accused Products perform a method that includes at a base computer,

receiving data about a computer object from a first remote computer on which the computer object

or similar computer objects are stored. For example, each endpoint on which Intercept X is

installed sends data about the processes executing on it to the cloud-based “Sophos Central,” which

stores that data in a database and manages endpoints within a network. For example, data can be

queried from each endpoint using “Live Discover” SQL queries through the “Threat Analysis

Dashboard,” to detect, for example, processes that have made “[u]nusual changes to the registry”

or to “search devices for signs of a suspected or known threat if Sophos Central has found the

threat elsewhere.” Data about each process is automatically analyzed, marked as a “threat case,”

and displayed as such in the “Threat Analysis Center.” Moreover, such data is also periodically



                                                    49
             Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 50 of 144




    uploaded by each endpoint to a cloud-based “Data Lake,” which can be queried, for example, to

    obtain data about which processes executed on a given endpoint when it is offline.

    Live Discover
    Live Discover allows you to check the devices that Sophos Central is managing, look for signs of a threat,
    or assess compliance.
    You can use Live Discover queries to search devices for signs of threats that haven’t been detected by
    other Sophos features. For example:

    •   Unusual changes to the registry.

    •   Failed authentications.

    •   A process running that is very rarely run.
    You can also search devices for signs of a suspected or known threat if Sophos Central has found the
    threat elsewhere, or if a user reports suspicious behavior on their device.
    You can also check the compliance of each device. For example, you can search for out-of-date software
    or browsers with insecure settings.
    This page tells you how to use Live Discover. You can also familiarize yourself with it by completing
    the Sophos XDR Training.


    How queries work
    We provide a range of queries for you to use to check your devices. You can use them as they are, or
    edit them (you'll need to be familiar with osquery or SQL). You can also create queries.
    You can run queries to get information from different sources:

    •   Endpoint queries get the latest information from devices that are currently connected.



    (See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/learningContents/

    LiveDiscover.html; see also https://community.sophos.com/intercept-x-endpoint/b/blog/posts/

    introducing-the-new-threat-analysis-center.)

    Data Lake queries
    Data Lake queries let you search security and compliance data that your devices upload to the cloud.
    You can run Data Lake queries with Live Discover, a feature in our Threat Analysis Center.
    Live Discover now lets you choose which data source you use when you set up and run a query:

•   Endpoints that are currently connected.

•   The Data Lake in the cloud.
    For help with Live Discover see Live Discover.

    How the Data Lake works


                                                        50
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 51 of 144



We host the Data Lake and provide scheduled “hydration queries” that define which data your endpoints
upload to it.
However, before you use Data Lake queries, you must make sure that data is being uploaded. To turn on
uploads of data, see Data Lake uploads.
We store the data for 30 days.
We provide pre-prepared Data Lake queries you can run. You can use them as they are or edit them. You
can also create your own queries.



(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

DataLakeQueries.html.)

        136.    The Accused Products perform a method that includes wherein the data received

from a first remote computer about a computer object includes information about events initiated

or involving the computer object when the computer object is created, configured or runs on the

first remote computer, said information including at least an identity of an object initiating the

event, the event type, and an identity of an object or other entity on which the event is being

performed. As shown above, each endpoint on which Intercept X is installed sends data about the

processes executing on it to the cloud-based “Sophos Central,” which stores that data in a database

and manages endpoints within a network.

        137.    As further evidence, the event data sent to Sophos Central by each endpoint

includes event data generated when the file or process is created, configured or executed. The

event data also includes incident details that describe the identity of objects and entities on which

each event is performed. In particular, in the example shown below, the “Analyze” tab of a “threat

case” displayed in the “Threat Analytics Center” illustrates the illicit execution, on an infected

endpoint device, of the suspicious process “431.exe” by Microsoft Powershell, which is marked

as the “Beacon,” and the subsequent modification of “registry keys” by the file “431.exe” on the

infected endpoint.




                                                  51
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 52 of 144




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_US.)

       138.    The Accused Products perform a method that includes wherein data about the

computer object from a second remote computer on which the computer object or similar computer

objects are stored, wherein said data includes information about events initiated or involving the

computer object when the computer object is created, configured, or runs on the second remote

computer, said information including at least an identity of an object initiating the event, the event

type, and an identity of an object or other entity on which the event is being performed.

       139.    For example, as explained above, each endpoint on which Intercept X is installed

sends data about the processes executing on it to the cloud-based “Sophos Central,” which stores

that data in a database and manages endpoints within a network. For example, data can be queried



                                                 52
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 53 of 144




using “Live Discover” SQL queries through the “Threat Analysis Dashboard,” to detect, e.g.,

processes that have made “[u]nusual changes to the registry” or to “search devices for signs of a

suspected or known threat if Sophos Central has found the threat elsewhere.” Data about each

process is automatically analyzed, marked as a “threat case,” and displayed as such in the “Threat

Analysis Center.” Moreover, such data is also periodically uploaded by each endpoint to a cloud-

based “Data Lake,” which can be queried, for example, to obtain data about which processes

executed on a given endpoint when it is offline. The Accused Products protect endpoints associated

with “more than 500,000 organizations and millions of consumers in more than 150 countries.”

(See       https://www.sophos.com/en-us/press-office/press-releases/2020/11/sophos-intercept-x-

named-best-endpoint-security-solution.aspx.)

Live Discover
Live Discover allows you to check the devices that Sophos Central is managing, look for signs of a threat,
or assess compliance.
You can use Live Discover queries to search devices for signs of threats that haven’t been detected by
other Sophos features. For example:

•   Unusual changes to the registry.

•   Failed authentications.

•   A process running that is very rarely run.
You can also search devices for signs of a suspected or known threat if Sophos Central has found the
threat elsewhere, or if a user reports suspicious behavior on their device.
You can also check the compliance of each device. For example, you can search for out-of-date software
or browsers with insecure settings.
This page tells you how to use Live Discover. You can also familiarize yourself with it by completing
the Sophos XDR Training.


How queries work
We provide a range of queries for you to use to check your devices. You can use them as they are, or
edit them (you'll need to be familiar with osquery or SQL). You can also create queries.
You can run queries to get information from different sources:

•   Endpoint queries get the latest information from devices that are currently connected.



(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/learningContents/



                                                    53
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 54 of 144




LiveDiscover.html; see also https://community.sophos.com/intercept-x-endpoint/b/blog/posts/

introducing-the-new-threat-analysis-center; https://docs.sophos.com/central/Customer/help/en-

us/central/Customer/concepts/DataLake Queries.html.)

        140.    As further evidence, the event data sent to Sophos Central by each endpoint

includes event data generated when the file or process is created, configured and executed. The

event data also includes incident details that describe the identity of objects and entities on which

each event is performed. In particular, in the example shown above, the “Analyze” tab of a “threat

case” displayed in the “Threat Analytics Center” illustrates the illicit execution, on an infected

endpoint device, of the suspicious process “431.exe” by Microsoft Powershell, which is marked

as the “Beacon,” and the subsequent modification of “registry keys” by the file “431.exe” on the

infected endpoint.

        141.    The Accused Products perform a method that includes storing, at the base

computer, said data received from the first and second remote computers. For example, as

explained above, Sophos Central stores data received from every endpoint and organizes it in a

database. As another example, data from endpoints is also organized into a “Data Lake,” which

can be queried, for example, to obtain data about which processes executed on a given endpoint

when it is offline.

        142.    Sophos Central stores data from remote computers in a centralized “Data Lake.”




                                                 54
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 55 of 144




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/DataLake

StorageLimits.html.)

       143.    The Accused Products perform a method that includes correlating, by the base

computer, at least a portion of the data about the computer object received from the first remote

computer to at least a portion of the data about the computer object received from the second

remote computer. For example, each endpoint on which Intercept X is installed sends data about

the processes executing on it to the cloud-based “Sophos Central,” which stores and organizes that

data in a database and manages endpoints within a network. Data about those processes, such as

which actions of events they have initiated on their endpoints, and which other endpoints also ran

processes initiating such actions, are correlated within that database, and can be queried on the

basis of those correlations to, for example, “search devices for signs of a suspected or known threat

if Sophos Central has found the threat elsewhere.”

       144.    As another example, by using “Live Discover” SQL queries to a correlated database

through the “Threat Analysis Dashboard,” a system administrator can obtain a list of processes,

across all connected endpoints, that have made certain “[u]nusual changes to the registry” or

“Failed Authentications” in a particular way. (See https://docs.sophos.com/central/Customer/

help/en-us/central/Customer/learningContents/ LiveDiscover.html.)




                                                 55
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 56 of 144




       145.    The Accused Products perform a method that includes comparing, by the base

computer, the correlated data about the computer object received from the first and second remote

computers to other objects or entities to identify relationships between the correlated data and the

other objects or entities. As explained above, the Accused Products use the data on processes that

each endpoint sends to Sophos Central to identify relationships between those processes and

malware to identify “threat cases.” These comparisons allow the Accused Products to search for

signs of a suspected or known threat if Sophos Central has found the threat elsewhere. In the

example below, Intercept X has identified that the process “silentrep.exe” is a variant of the

malware “ML/PE-A.”




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_USl.)

       146.    The Accused Products perform a method that includes classifying, by the base

computer, the computer object as malware based on said comparison. For example, as explained

above, Intercept X identified that the data Sophos Central received about the process

“silentrep.exe” indicated that it was a variant of malware “ML/PE-A” and on the basis of that

comparison, classified it as malware.

       147.    Each claim in the ’389 Patent recites an independent invention. Neither claim 1,



                                                56
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 57 of 144




described above, nor any other individual claim is representative of all claims in the ’389 Patent.

       148.    Sophos has been aware of the ’389 Patent since at least the filing of this Complaint.

Further, Plaintiffs have marked its products with the ’389 Patent, including on its web site, since

at least July 2020.

       149.    Defendant directly infringes at least claim 1 of the ’389 Patent, literally or under

the doctrine of equivalents, by performing the steps described above. For example, on information

and belief, Defendant performs the claimed method in an infringing manner as described above by

running this software and corresponding systems to protect its own computer and network

operations. On information and belief, Defendant also performs the claimed method as described

above when testing the operation of the Accused Products and corresponding systems. As another

example, Defendant performs the claimed method as described above when providing or

administering services to third parties, customers, and partners using the Accused Products.

       150.    Defendant’s partners, customers, and end users of the Accused Products and

corresponding systems and services directly infringe at least claim 1 of the ’389 Patent, literally or

under the doctrine of equivalents, at least by using the Accused Products and corresponding

systems and services, as described above.

       151.    Defendant has actively induced and are actively inducing infringement of at least

claim 1 of the ’389 Patent with specific intent to induce infringement, and/or willful blindness to

the possibility that its acts induce infringement, in violation of 35 U.S.C. § 271(b). For example,

Defendant encourages and induces customers to use Sophos’s security software in a manner that

infringes claim 1 of the ’389 Patent at least by offering and providing software that performs a

method that infringes claim 1 when installed and operated by the customer, and by engaging in

activities relating to selling marketing, advertising, promotion, installation, support, and




                                                 57
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 58 of 144




distribution of the Accused Products.

         152.     Defendant encourages, instruct, direct, and/or require third parties—including its

certified partners and/or customers—to perform the claimed method using the software, services,

and systems in infringing ways, as described above.

         153.     Defendant further encourages and induces its customers to infringe claim 1 of the

’389 Patent: 1) by making its security services available on its website, providing applications that

allow users to access those services, widely advertising those services, and providing technical

support and instructions to users, and 2) through activities relating to marketing, advertising,

promotion, installation, support, and distribution of the Accused Products, including its Sophos

security software and services in the United States. (See https://www.sophos.com/en-

us/products/endpoint-antivirus/how-to-buy.aspx;        https://partners.sophos.com/english/directory/

search?lat=30.267153&lng=-97.7430608&dMI=100&p=1;                 https://secure2.sophos.com/en-us/

security-news-trends/whitepapers/gated-wp/cybersecurity-system-buyers-guide.aspx%23form

Frame;      see       also    https://www.sophos.com/en-us/medialibrary/PDFs/factsheets/sophos-

synchronized-security-ds.pdf.)

         154.     For example, on information and belief, Defendant shares instructions, guides, and

manuals, which advertise and instruct third parties on how to use the software as described above,

including at least customers and partners. (Id.) On further information and belief, Defendant also

provides customer service and technical support to purchasers of the Accused Products and

corresponding system and services, which directs and encourages customers to perform certain

actions that use the Accused Products in an infringing manner. (Id.)

         155.     Defendant and/or its partners recommend and sell the Accused Products and

provide technical support for the installation, implementation, integration, and ongoing operation




                                                  58
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 59 of 144




of the Accused Products for each individual customer. On information and belief, each customer

enters into a contractual relationship with Defendant and/or one of its partners, which obligates

each customer to perform certain actions in order to use the Accused Products. Further, in order to

receive the benefit of Defendant and/or its partner’s continued technical support and their

specialized knowledge and guidance of the operability of the Accused Products, each customer

must continue to use the Accused Products in a way that infringes the ’389 Patent.

        156.    Further, as the entity that provides installation, implementation, and integration of

the Accused Products in addition to ensuring the Accused Product remains operational for each

customer through ongoing technical support, on information and belief, Defendant and/or its

partners affirmatively aid and abet each customer’s use of the Accused Products in a manner that

performs the claimed method of, and infringes, the ’389 Patent.

        157.    Defendant also contributes to the infringement of its partners, customers, and end-

users of the Accused Products by providing within the United States or importing into the United

States the Accused Products, which are for use in practicing, and under normal operation practice,

methods claimed in the Asserted Patents, constituting a material part of the claimed methods, and

not a staple article or commodity of commerce suitable for substantial non-infringing uses. Indeed,

as shown above, the Accused Products and the example functionality described below have no

substantial non-infringing uses but are specifically designed to practice the ’389 Patent.

        158.    On information and belief, the infringing actions of each partner, customer, and/or

end-user of the Accused Products are attributable to Defendant. For example, on information and

belief, Defendant directs and controls the activities or actions of its partners or others in connection

with the Accused Products by contractual agreement or otherwise requiring partners or others to

provide information and instructions to customers who acquire the Accused Products which, when




                                                  59
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 60 of 144




followed, results in infringement. Defendant further directs and controls the operation of devices

executing the Accused Products by programming the software which, when executed by a

customer or end user, perform the method steps of at least claim 1 of the ’389 Patent.

       159.    Plaintiffs have suffered and continue to suffer damages, including lost profits, as a

result of Defendant’s infringement of the ’389 Patent. Defendant is therefore liable to Plaintiffs

under 35 U.S.C. § 284 for damages in an amount that adequately compensates Plaintiffs for

Defendant’s infringement, but no less than a reasonable royalty.

       160.    Plaintiffs will continue to suffer irreparable harm unless this Court preliminarily

and permanently enjoins Defendant, its agents, employees, representatives, and all others acting

in concert with Defendant from infringing the ’389 Patent.

       161.    Defendant’s infringement of the ’389 Patent is knowing and willful. Defendant had

actual knowledge of the ’389 Patent at least by the time Plaintiffs filed this lawsuit and had

constructive knowledge of the ’389 Patent from at least the date Plaintiffs marked their products

with the ’389 Patent and/or provided notice of the ’389 Patent on their website.

       162.    On information and belief, despite Defendant’s knowledge of the ’389 Patent, and

Plaintiffs’ patented technology, Defendant made the deliberate decision to sell products and

services that they knew infringe the ’389 Patent. Defendant’s continued infringement of the ’389

Patent with knowledge of the ’389 Patent constitutes willful infringement.

                               THIRD CAUSE OF ACTION
                         (INFRINGEMENT OF THE ’045 PATENT)

       163.    Plaintiffs reallege and incorporates by reference the allegations of the preceding

paragraphs of this Complaint.

       164.    Sophos has infringed and continues to infringe one or more claims of the ’045

Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the United States and will



                                                60
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 61 of 144




continue to do so unless enjoined by this Court. The Accused Products, including features such as

Sophos’ Intercept X Advanced with EDR (“Intercept X”), at least when used for their ordinary

and customary purposes, practice each element of at least claim 1 of the ’045 Patent as described

below.

         165.      Claim 1 of the ’045 Patent recites:

                   1.     A method comprising:

                   gathering one or more events defining an action of a first object acting on a
         target;

                  generating a contextual state for at least one of the one or more events by
         correlating the at least one event to an originating object, the contextual state
         including an indication of the originating object of the first object and an indication
         of at least one of a device on which the first object is executed and a user associated
         with the first object;

                  obtaining a global perspective for the at least one event by obtaining
         information associated with one or more of the first object and the originating
         object, the information including at least one of age, popularity, a determination as
         to whether the first object is malware, a determination as to whether the originating
         object is malware, Internet Protocol (IP) Address, and Uniform Resource Locator
         (URL) information, wherein the global perspective for one or more related events
         to at least one event across a network;

                 assembling an event line including details associated with the at least one
         event, the details including information uniquely identifying the first object, the
         action of the first object, the target, and the originating object; and

                   transmitting the assembled event line.

         166.      The Accused Products perform each of the method steps of claim 1 of the ’045

Patent. To the extent the preamble is construed to be limiting, the Accused Products perform a

method as further explained below. For example, Intercept X performs a method for endpoint

protection, wherein threat cases/attacks are analyzed in detail.




                                                    61
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 62 of 144




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_USl.)

       167.   The Accused Products perform a method that includes gathering one or more

events defining an action of a first object acting on a target. In the example shown below, the

“Analyze” tab of Intercept X illustrates the illicit creation of the malicious file “431.exe” by



                                              62
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 63 of 144




Microsoft Powershell, which is marked as the “Beacon,” and the subsequent actions of “431.exe”

on the infected endpoint, such as modifying registry keys. The Analyze Tab describes the “attack

chain,” i.e., the chain of events linking the “Beacon” to what Intercept X has identified as the “Root

Cause,” in this case the program “Outlook.” In the example below, Outlook wrote a document

called “rgnr-avr11205-85.doc” and used Microsoft Office to read the document, initiating a chain

of events culminating in the illicit creation and execution of the malicious file “431.exe” via

Microsoft Powershell. Events defining the attack chain are gathered from the endpoint device by

Intercept X (e.g., Sophos Central).




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_US.)

       168.    The root cause analysis performed by Intercept X, and illustrated by an attack chain,



                                                 63
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 64 of 144




is further described in the video “Root Cause Analysis RCA in 2 minutes.”




(See https://www.youtube.com/watch?v=AosjUjp4P7Q (showing the root cause as the process

circled in red above).)

       169.    The Accused Products perform a method that includes generating a contextual state

for at least one of the one or more events by correlating the at least one event to an originating

object, the contextual state including an indication of the originating object of the first object and

an indication of at least one of a device on which the first object is executed and a user associated

with the first object. As explained above, Intercept X’s “Analyze” tab illustrates the creation of a

malicious file “431.exe” by Microsoft Powershell, which is marked as the “Beacon.”

       170.    In the example below, the Analyze Tab describes the “attack chain,” i.e., the chain

of associated events linking the “Beacon” to what Intercept X has identified as the “Root Cause,”

in this case the program “Outlook.” Outlook wrote a document called “rgnr-avr11205-85.doc” and

used Microsoft Office to read the document, initiating a chain of events culminating in the illicit

creation and execution of the malicious file “431.exe” via Microsoft Powershell. An “attack



                                                 64
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 65 of 144




chain,” also known as an “event chain,” is associated both with the endpoint device on which files

executed and the user of that device.




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_US.)




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html.)



                                               65
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 66 of 144




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_USl.)

       171.    The details of the attack chain, and the relationships it illustrates between the “Root

Cause,” the “Beacon,” and the intervening files or processes between them, include the “contextual

state for at least one of the one or more events by correlating the at least one event to an originating

object, the contextual state including an indication of the originating object of the first object.”

For example, the attack chain above shows each step in the attack (e.g., files or registry keys read

or written by any program, IP addresses accessed, caller-callee relationships, and more).

       172.    The Accused Products perform a method that includes obtaining a global

perspective for the at least one event by obtaining information associated with one or more of the

first object and the originating object, the information including at least one of age, popularity, a

determination as to whether the first object is malware, a determination as to whether the

originating object is malware, Internet Protocol (IP) Address, and Uniform Resource Locator

(URL) information, wherein the global perspective for one or more related events to the at least

one event across a network. The attack chain includes information obtained about the “Root

Cause,” the “Beacon,” events involving them, as well as the intervening files or processes from

associated events across a network. For example, Intercept X obtains information at least about


                                                  66
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 67 of 144




the age, popularity and URL information of the processes within the attack chain.


Report summary
Under Report summary, you can see the file's reputation and prevalence and the
results of our machine learning analysis, which indicate how suspicious the file is.
Setting                            Description
Prevalence                         Indicates how often SophosLabs has seen the file.
First seen                         When SophosLabs first saw the file in the wild.
Last seen                          When SophosLabs last saw the file in the wild
Machine learning analysis          Summarizes how suspicious the file is.


(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html.)




                                               67
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 68 of 144




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html; see also https://www.youtube.com/watch?v=_ujOT58ZvpI.)

        173.    Moreover, the Accused Products identify, for example, global IP addresses that are

malware command-and-control centers: “Here’s the beacon event, the thing that was caught, in

this case a fake salary report. Here’s the root, Google Chrome. We see here that the fake report

reached out to an IP address that we happen to know to be a command-and-control site. This right

here is the moment of conviction, when we discovered that what was executing was a piece of

malware.”




(See https://youtube/AOsjUjp4P7Q?t=48.)

        174.    The Accused Products perform a method that includes assembling an event line

including details associated with the at least one event, the details including information uniquely

identifying the first object, the action of the first object, the target, and the originating object. As



                                                  68
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 69 of 144




explained above, an attack chain created by Intercept X includes information associated with, and

identifying the “Root Cause,” the “Beacon,” and the intervening files or processes in the attack

chain. In the example included, Intercept X’s “Analyze” tab illustrates the illicit creation of the

malicious file “431.exe” by Microsoft Powershell, and the subsequent actions of “431.exe” on the

infected endpoint, such as modifying registry keys.

       175.    In the example below, the Analyze Tab describes the “attack chain,” i.e., the chain

of events linking the “Beacon” to what Intercept X has identified as the “Root Cause,” in this case

the program “Outlook.” Outlook wrote a document called “rgnr-avr11205-85.doc” and used

Microsoft Office to read the document, initiating a chain of events culminating in the illicit creation

and execution of the malicious file “431.exe” via Microsoft Powershell. The attack chain, clearly

seen as a chain of arrows connecting objects and their next targets, also illustrates the subsequent

actions of “431.exe” on the infected endpoint, such as modifying registry keys. (See

https://support.sophos.com/support/s/article/KB-000036359?language=en_US.)




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html.)

       176.    The Accused Products perform a method of transmitting the assembled event line.

In the example below, and as explained above, Intercept X’s “Analyze” tab illustrates the “attack

chain” linking the illicit creation of the malicious file “431.exe” by Microsoft Powershell, i.e., “the

Beacon,” to the “Root Cause.” Intercept X thus transmits the event line such that the attack chain



                                                  69
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 70 of 144




can be generated, stored or displayed (e.g., on a user or administrator’s client-side web browser).

        177.    Furthermore, Intercept X transmits the event line to SophosLABS for “additional

analysis.”




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html.)

        178.    Each claim in the ’045 Patent recites an independent invention. Neither claim 1,

described above, nor any other individual claim is representative of all claims in the ’045 Patent.

        179.    Defendant has been aware of the ’045 Patent since at least the filing of this

Complaint. Further, Plaintiffs have marked its products with the ’045 Patent, including on its web

site, since at least July 2020.

        180.    Defendant directly infringes at least claim 1 of the ’045 Patent, literally or under

the doctrine of equivalents, by performing the steps described above. For example, on information

and belief, Defendant performs the claimed method as described above by running this software



                                                 70
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 71 of 144




and corresponding systems to protect its own computer and network operations. On information

and belief, Defendant also performs the claimed method as described above when testing the

operation of the Accused Products and corresponding systems. As another example, Defendant

performs the claimed method as described above when providing or administering services to third

parties, customers, and partners using the Accused Products.

       181.    Defendant’s partners, customers, and end users of the Accused Products and

corresponding systems and services directly infringe at least claim 1 of the ’045 Patent, literally or

under the doctrine of equivalents, at least by using the Accused Products and corresponding

systems and services, as described above.

       182.    Defendant has actively induced and is actively inducing infringement of at least

claim 1 of the ’045 Patent with specific intent to induce infringement, and/or willful blindness to

the possibility that its acts induce infringement, in violation of 35 U.S.C. § 271(b). For example,

Defendant encourages and induces customers to use Sophos security software in a manner that

infringes claim 1 of the ’045 Patent at least by offering and providing software that performs a

method that infringes claim 1 when installed and operated by the customer, and by engaging in

activities relating to selling, marketing, advertising, promotion, installation, support, and

distribution of the Accused Products.

       183.    Defendant encourages, instructs, directs, and/or requires third parties—including

its certified partners and/or customers—to perform the claimed method using the software,

services, and systems in infringing ways, as described above.

       184.    Defendant further encourages and induces its customers to infringe claim 1 of the

’045 Patent: 1) by making its security services available on its website, providing applications that

allow users to access those services, widely advertising those services, and providing technical




                                                 71
          Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 72 of 144




support and instructions to users, and 2) through activities relating to marketing, advertising,

promotion, installation, support, and distribution of the Accused Products, including its Sophos

security software, and services in the United States. (See https://www.sophos.com/en-

us/products/endpoint-antivirus/how-to-buy.aspx;      https://partners.sophos.com/english/directory/

search?lat=30.267153&lng=-97.7430608&dMI=100&p=1;                https://secure2.sophos.com/en-us/

security-news-trends/whitepapers/gated-wp/cybersecurity-system-buyers-guide.aspx%23form

Frame.)

       185.    For example, on information and belief, Defendant shares instructions, guides, and

manuals, which advertise and instruct third parties on how to use the software as described above,

including at least customers and partners. (Id.) On further information and belief, Sophos also

provides customer service and technical support to purchasers of the Accused Products and

corresponding system and services, which directs and encourages customers to perform certain

actions that use the Accused Products in an infringing manner. (Id.)

       186.    Defendant and/or its partners recommend and sell the Accused Products and

provide technical support for the installation, implementation, integration, and ongoing operation

of the Accused Products for each individual customer. On information and belief, each customer

enters into a contractual relationship with Defendant and/or one of its partners, which obligates

each customer to perform certain actions as a condition to use of the Accused Products. Further,

in order to receive the benefit of Defendant and/or its partner’s continued technical support and

their specialized knowledge and guidance of the operability of the Accused Products, each

customer must continue to use the Accused Products in a way that infringes the ’045 Patent.

       187.    Further, as the entity that provides installation, implementation, and integration of

the Accused Products in addition to ensuring the Accused Product remains operational for each




                                                72
          Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 73 of 144




customer through ongoing technical support, on information and belief, Defendant and/or its

partners affirmatively aid and abet each customer’s use of the Accused Products in a manner that

performs the claimed method of, and infringes, the ’045 Patent.

          188.   Defendant also contributes to the infringement of their partners, customers, and

end-users of the Accused Products by providing within the United States or importing into the

United States the Accused Products, which are for use in practicing, and under normal operation

practice, methods claimed in the Asserted Patents, constituting a material part of the claimed

methods, and not a staple article or commodity of commerce suitable for substantial non-infringing

uses. Indeed, as shown above, the Accused Products and the example functionality described

below have no substantial non-infringing uses but are specifically designed to practice the ’045

Patent.

          189.   On information and belief, the infringing actions of each partner, customer, and/or

end-user of the Accused Products are attributable to Defendant. For example, on information and

belief, Defendant directs and controls the activities or actions of its partners or others in connection

with the Accused Products by contractual agreement or otherwise requiring partners or others to

provide information and instructions to customers who acquire the Accused Products which, when

followed, results in infringement. Defendant further directs and controls the operation of devices

executing the Accused Products by programming the software which, when executed by a

customer or end user, perform the method steps of at least claim 1 of the ’045 Patent.

          190.   Plaintiffs have suffered and continue to suffer damages, including lost profits, as a

result of Defendant’s infringement of the ’045 Patent. Defendant is therefore liable to Plaintiffs

under 35 U.S.C. § 284 for damages in an amount that adequately compensates Plaintiffs for

Defendant’s infringement, but no less than a reasonable royalty.




                                                  73
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 74 of 144




         191.   Plaintiffs will continue to suffer irreparable harm unless this Court preliminarily

and permanently enjoins Defendant, its agents, employees, representatives, and all others acting

in concert with Defendant from infringing the ’045 Patent.

         192.   Defendant’s infringement of the ’045 Patent is knowing and willful. Defendant had

actual knowledge of the ’045 Patent at least by the time Plaintiffs filed this lawsuit and had

constructive knowledge of the ’045 Patent from at least the date Plaintiffs marked their products

with the ’045 Patent and/or provided notice of the ’045 Patent on their website.

         193.   On information and belief, despite Defendant’s knowledge of the Asserted Patents

and Plaintiffs’ patented technology, Defendant made the deliberate decision to sell products and

services that they knew infringe the ’045 Patent. Defendant’s continued infringement of the ’045

Patent with knowledge of the ’045 Patent constitutes willful infringement.

                               FOURTH CAUSE OF ACTION
                          (INFRINGEMENT OF THE ’224 PATENT)

         194.   Plaintiffs reallege and incorporate by reference the allegations of the preceding

paragraphs of this Complaint.

         195.   Sophos has infringed and continues to infringe one or more claims of the ’224

Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the United States and will

continue to do so unless enjoined by this Court. The Accused Products, including features such as

Sophos’s Intercept X Advanced with EDR (“Intercept X”), at least when used for their ordinary

and customary purposes, practice each element of at least claim 1 of the ’224 Patent as described

below.

         196.   Claim 1 of the ’224 Patent recites:

                1. A method comprising:

                gathering an event defining an action of a first object acting on a target,



                                                 74
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 75 of 144




       wherein the first object is executed on a device;

               generating contextual state information for the event by correlating the
       event to an originating object of the first object;

              obtaining a global perspective for the event based on the contextual state
       information, wherein the global perspective comprises information associated with
       one or more of the first object and the originating object, and wherein the global
       perspective relates to one or more other events related to the event across a network;

               generating an event line comprising information relating to the event,
       wherein the information relates to at least one of the first object, the action of the
       first object, the target, and the originating object; and

               transmitting the generated event line.

       197.    To the extent the preamble is construed to be limiting, the Accused Products

perform a method as further explained below. For example, the Accused Products perform a

method for endpoint protection, wherein threat cases/attacks are analyzed in detail.




                                                75
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 76 of 144




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_USl.)

       198.    The Accused Products perform a method of gathering an event defining an action

of a first object acting on a target, wherein the first object is executed on a device. In the

example shown below, the “Analyze” tab of Intercept X illustrates the illicit creation of the

malicious file “431.exe” by Microsoft Powershell, which is marked as the “Beacon,” and the

subsequent actions of “431.exe” on the infected endpoint, such as modifying registry keys. The

Analyze Tab describes the “attack chain,” i.e., the chain of events linking the “Beacon” to what

Intercept X has identified as the “Root Cause,” in this case the program “Outlook.” In the

example below, Outlook wrote a document called “rgnr-avr11205-85.doc” and used Microsoft

Office to read the document, initiating a chain of events culminating in the illicit creation and

execution of the malicious file “431.exe” via Microsoft Powershell. Events defining the attack

chain are gathered from the endpoint device by Intercept X (e.g., Sophos Central). (See

https://support.sophos.com/support/s/article/KB-000036359?language=en_US.)

       199.    The root cause analysis performed by Intercept X, and illustrated by an attack chain,

is further described in the video “Root Cause Analysis RCA in 2 minutes”:




                                                  76
           Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 77 of 144




(See https://www.youtube.com/watch?v=AOsjUjp4P7Q (showing the root cause as the process

circled in red above).)

       200.     The Accused Products perform a method of generating contextual state information

for the event by correlating the event to an originating object of the first object. As explained

above, Intercept X’s “Analyze” tab illustrates the illicit creation and execution of the malicious

file “431.exe” by Microsoft Powershell, which is marked as the “Beacon.”

       201.     In the example below, the Analyze Tab describes the “attack chain,” i.e., the chain

of associated events linking the “Beacon” to what Intercept X has identified as the “Root Cause,”

in this case the program “Outlook.” Outlook wrote a document called “rgnr-avr11205-85.doc” and

used Microsoft Office to read the document, initiating a chain of events culminating in the illicit

creation and execution of the malicious file “431.exe” via Microsoft Powershell. The attack chain

also illustrates the subsequent actions of “431.exe” on the infected endpoint, such as modifying

registry     keys.   (See   https://support.sophos.com/support/s/article/KB-000036359?language

=en_US.)



                                                77
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 78 of 144




(See https://support.sophos.com/support/s/article/KB-000036359?language=en_US.)

       202.    The details of the attack chain, and the relationships it illustrates between the “Root

Cause,” the “Beacon,” and the intervening files or processes between them, include the “contextual

state information for the event by correlating the event to an originating object of the first object.”

       203.    The Accused Products perform a method of obtaining a global perspective for the

event based on the contextual state information wherein the global perspective comprises

information associated with one or more of the first object and the originating object, and wherein

the global perspective relates to one or more other events related to the event across a network.

The attack chain includes information obtained about the “Root Cause,” the “Beacon,” events

involving them, as well as the intervening files or processes from associated events across a

network. For example, Intercept X obtains information at least about the age, popularity URL

information of the processes within the attack chain.


Report summary
Under Report summary, you can see the file's reputation and prevalence and the
results of our machine learning analysis, which indicate how suspicious the file is.
Setting                              Description
Prevalence                           Indicates how often SophosLabs has seen the file.
First seen                           When SophosLabs first saw the file in the wild.
Last seen                            When SophosLabs last saw the file in the wild
Machine learning analysis            Summarizes how suspicious the file is.




                                                  78
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 79 of 144




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html.)




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html.)




                                             79
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 80 of 144




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html; see also https://www.youtube.com/watch?v=_ujOT58ZvpI.)

       204.   Moreover, the Accused Products identify, for example, global IP addresses that are

malware command-and-control centers: “Here’s the beacon event, the thing that was caught, in

this case a fake salary report. Here’s the root, Google Chrome. We see here that the fake report

reached out to an IP address that we happen to know to be a command-and-control site. This right

here is the moment of conviction, when we discovered that what was executing was a piece of

malware.”




                                              80
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 81 of 144




(See https://youtu.be/AOsjUjp4P7Q?t=48.)

       205.    The Accused Products perform a method of generating an event line comprising

information relating to the event, wherein the information relates to at least one of the first object,

the action of the first object, the target, and the originating object. As explained above, an attack

chain created by Intercept X includes information associated with, and identifying the “Root

Cause,” the “Beacon,” and the intervening files or processes in the attack chain. In the example

included, Intercept X generates an attack chain illustrating the illicit creation, execution, and

subsequent actions of the malicious file “431.exe.”

       206.    In the example below, the “attack chain” links the “Beacon” to what Intercept X

has identified as the “Root Cause,” in this case the program “Outlook.” Outlook wrote a document

called “rgnr-avr11205-85.doc” and used Microsoft Office to read the document, initiating a chain

of events culminating in the illicit creation and execution of the malicious file “431.exe” via

Microsoft Powershell. The attack chain also illustrates the subsequent actions of “431.exe” on the


                                                  81
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 82 of 144




infected endpoint, such as modifying registry keys. (See https://support.sophos.com/support/s/

article/KB-000036359?language=en_US.)




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html.)

       207.    The Accused Products perform a method of transmitting the generated event line.

In the example below, and as explained above, Intercept X’s “Analyze” tab illustrates the “attack

chain” linking the illicit creation, execution, and subsequent actions of the malicious file “431.exe”

by Microsoft Powershell, i.e., “the Beacon,” to the “Root Cause.” Intercept X thus transmits the

event line such that the attack chain can be generated, stored or displayed.

       208.    Furthermore, Intercept X transmits the event line to SophosLABS for “additional

analysis.”




                                                 82
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 83 of 144




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html.)




(See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

ProcessDetails.html.)

       209.    Each claim in the ’224 Patent recites an independent invention. Neither claim 1,

described above, nor any other individual claim is representative of all claims in the ’224 Patent.

       210.    Defendant has been aware of the ’224 Patent since at least the filing of this

Complaint. Further, Plaintiffs have marked its products with the ’224 Patent, including on its web




                                                83
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 84 of 144




site, since at least July 2020.

        211.    Defendant directly infringes at least claim 1 of the ’224 Patent, literally or under

the doctrine of equivalents, by performing the steps described above. For example, on information

and belief, Defendant performs the claimed method as described above by running this software

and corresponding systems to protect its own computer and network operations. On information

and belief, Defendant also performs the claimed method as described above when testing the

operation of the Accused Products and corresponding systems. As another example, Defendant

performs the claimed method as described above when providing or administering services to third

parties, customers, and partners using the Accused Products.

        212.    Defendant’s partners, customers, and end users of the Accused Products and

corresponding systems and services directly infringe at least claim 1 of the ’224 Patent, literally or

under the doctrine of equivalents, at least by using the Accused Products and corresponding

systems and services, as described above.

        213.    Defendant has actively induced and is actively inducing infringement of at least

claim 1 of the ’224 Patent with specific intent to induce infringement, and/or willful blindness to

the possibility that its acts induce infringement, in violation of 35 U.S.C. § 271(b). For example,

Defendant encourages and induces customers to use Sophos’ security software in a manner that

infringes claim 1 of the ’224 Patent at least by offering and providing software that performs a

method that infringes claim 1 when installed and operated by the customer, and by engaging in

activities relating to selling, marketing, advertising, promotion, installation, support, and

distribution of the Accused Products.

        214.    Defendant encourages, instructs, directs, and/or requires third parties—including

its certified partners and/or customers—to perform the claimed method using the software,




                                                 84
          Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 85 of 144




services, and systems in infringing ways, as described above.

       215.     Defendant further encourages and induces customers to infringe claim 1 of the ’224

Patent: 1) by making its security services available on its website, providing applications that allow

users to access those services, widely advertising those services, and providing technical support

and instructions to users, and 2) through activities relating to marketing, advertising, promotion,

installation, support, and distribution of the Accused Products, including its Sophos security

software,     and   services   in    the   United     States.   (See   https://www.sophos.com/en-

us/products/endpoint-antivirus/how-to-buy.aspx;       https://partners.sophos.com/english/directory/

search?lat=30.267153&lng=-97.7430608&dMI=100&p=1;                 https://secure2.sophos.com/en-us/

security-news-trends/whitepapers/gated-wp/cybersecurity-system-buyers-guide.aspx%23form

Frame.)

       216.     For example, on information and belief, Defendant shares instructions, guides, and

manuals, which advertise and instruct third parties on how to use the software as described above,

including at least customers and partners. (Id.) On further information and belief, Defendant also

provides customer service and technical support to purchasers of the Accused Products and

corresponding system and services, which directs and encourages customers to perform certain

actions that use the Accused Products in an infringing manner. (Id.)

       217.     Defendant and/or its partners recommend and sell the Accused Products and

provide technical support for the installation, implementation, integration, and ongoing operation

of the Accused Products for each individual customer. On information and belief, each customer

enters into a contractual relationship with Defendant and/or one of its partners, which obligates

each customer to perform certain actions in order to use of the Accused Products. Further, in order

to receive the benefit of Defendant and/or its partner’s continued technical support and their




                                                 85
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 86 of 144




specialized knowledge and guidance of the operability of the Accused Products, each customer

must continue to use the Accused Products in a way that performs the claimed method and

infringes the ’224 Patent.

        218.    Further, as the entity that provides installation, implementation, and integration of

the Accused Products in addition to ensuring the Accused Product remains operational for each

customer through ongoing technical support, on information and belief, Defendant and/or its

partners affirmatively aid and abet each customer’s use of the Accused Products in a manner that

performs the claimed method of, and infringes, the ’224 Patent.

        219.    Defendant also contributes to the infringement of its partners, customers, and end-

users of the Accused Products by providing within the United States or importing into the United

States the Accused Products, which are for use in practicing, and under normal operation practice,

methods claimed in the Asserted Patents, constituting a material part of the claimed methods, and

not a staple article or commodity of commerce suitable for substantial non-infringing uses. Indeed,

as shown above, the Accused Products and the example functionality described below have no

substantial non-infringing uses but are specifically designed to practice the ’224 Patent.

        220.    On information and belief, the infringing actions of each partner, customer, and/or

end-user of the Accused Products are attributable to Defendant. For example, on information and

belief, Defendant directs and controls the activities or actions of its partners or others in connection

with the Accused Products by contractual agreement or otherwise requiring partners or others to

provide information and instructions to customers who acquire the Accused Products which, when

followed, results in infringement. Defendant further directs and controls the operation of devices

executing the Accused Products by programming the software which, when executed by a

customer or end user, perform the method steps of at least claim 1 of the ‘224 Patent.




                                                  86
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 87 of 144




       221.    Plaintiffs have suffered and continue to suffer damages, including lost profits, as a

result of Defendant’s infringement of the ’224 Patent. Defendant is therefore liable to Plaintiffs

under 35 U.S.C. § 284 for damages in an amount that adequately compensates Plaintiffs for

Defendant’s infringement, but no less than a reasonable royalty.

       222.    Plaintiffs will continue to suffer irreparable harm unless this Court preliminarily

and permanently enjoins Defendant, its agents, employees, representatives, and all others acting

in concert with Defendant from infringing the ’224 Patent.

       223.    Defendant’s infringement of the ’224 Patent is knowing and willful. Defendant had

actual knowledge of the ’224 Patent at least by the time Plaintiffs filed this lawsuit and had

constructive knowledge of the ’224 Patent from at least the date Plaintiffs marked their products

with the ’224 Patent and/or provided notice of the ’224 Patent on their website.

       224.    On information and belief, despite Defendant’s knowledge of the Asserted Patents

and Plaintiffs’ patented technology, Defendant made the deliberate decision to sell products and

services that they knew infringe the ’224 Patent. Defendant’s continued infringement of the ’224

Patent with knowledge of the ’224 Patent constitutes willful infringement.

                               FIFTH CAUSE OF ACTION
                         (INFRINGEMENT OF THE ’591 PATENT)

       225.    Plaintiffs reallege and incorporate the preceding paragraphs of this complaint.

       226.    Defendant has infringed and continues to infringe one or more claims of the ’591

Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the United States and will

continue to do so unless enjoined by this Court. The Accused Products, including anti-exploit

features such as those included in Intercept X, at least when used for their ordinary and customary

purposes, practice each element of at least claim 1 of the ’591 Patent as described below.

       227.    For example, claim 1 of the ’591 Patent recites:



                                                87
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 88 of 144




               1. A computer-implemented method comprising:

              monitoring a memory space of a process for execution of at least one
       monitored function of a plurality of functions, wherein monitoring the memory
       space comprises loading a component for evaluating the at least one monitored
       function in the memory space;

              invoking one of the plurality of functions as a result of receiving a call from
       an application programming instance;

              executing stack walk processing upon the invocation of one of the plurality
       of functions in the monitored memory space; and

               performing, during the executing of the stack walk processing before an
       address of an originating caller function is reached, a memory check for a plurality
       of stack entries identified during the stack walk processing to detect suspicious
       behavior, wherein an alert of suspicious behavior is triggered when the performing
       of the memory check detects at least one of the following:

               code execution is attempted from non-executable memory,

               a base pointer is identified as being invalid,

               an invalid stack return address is identified,

              attempted execution of a return-oriented programming technique is
       detected,

               the base pointer is detected as being outside a current thread stack, and

               a return address is detected as being inside a virtual memory area,

              wherein when an alert of suspicious behavior is triggered, preventing
       execution of a payload for the invoked function from operating.

       228.    The Accused Products perform each of the method steps of claim 1 of the ’591

Patent. To the extent the preamble is construed to be limiting, the Accused Products perform a

computer-implemented method, as further explained below. For example, the Accused Products

include “[e]xploit prevention [to] stop[] the techniques used in file-less, malware-less, and exploit-

based attacks.” (See https://www.sophos.com/en-us/products/endpoint-antivirus.aspx.)

       229.    The Accused Products perform a method that includes monitoring a memory space


                                                 88
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 89 of 144




of a process for execution of at least one monitored function of a plurality of functions, wherein

monitoring the memory space comprises loading a component for evaluating the at least one

monitored function in the memory space. For example, the Accused Products load a component

for monitoring memory space when monitoring “sensitive API functions.” In another example, the

Accused Products include “Memory Scanning” for “defense against in-memory malware” and

monitor “API call[s] (e.g., VitrualAlloc).”




(See https://www.sophos.com/en-us/medialibrary/Gated-Assets/white-papers/Sophos-

Comprehensive-Exploit-Prevention-wpna.pdf.)




                                               89
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 90 of 144




(See https://secure2.sophos.com/it-it/medialibrary/PDFs/other/end-of-ransomware/MarkLoman

SophosInterceptX.ashx.)

       230.    The Accused Products perform a method that includes invoking one of the plurality

of functions as a result of receiving a call from an application programming instance. For example,



                                                90
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 91 of 144




the   Accused     Products   monitor   “sensitive   API   functions—like     VirtualAlloc   and

CreateProcess…invoked by the CALL instruction.”




(See https://www.sophos.com/en-us/medialibrary/Gated-Assets/white-papers/Sophos-

Comprehensive-Exploit-Prevention-wpna.pdf.)

       231.     On information and belief, the Accused Products perform a method that includes

executing stack walk processing upon the invocation of one of the plurality of functions in the

monitored memory space. For example, as shown above, the Accused Products evaluate and trace

a stack “[u]pon invoking a sensitive API…to determine the API invoking address, using the

‘return’ address which is located on top of the stack.” In another example, the Accused Products

include the “CallerCheck” anti-exploit module for “[p]revent[ing] API invocation from stack

memory.” (See https://news.sophos.com/en-us/2021/03/04/covert-code-faces-a-heap-of-trouble-

in-memory/.)

       232.     In another example, the Accused Products “[l]ist detected IoCs mapped to the

MITRE ATT&CK [Adversarial Tactics, Techniques and Common Knowledge] framework.”

Furthermore, the MITRE ATT&CK framework includes companion project D3FEND for

defensive cybersecurity techniques, which includes “Memory Boundary Tracking” defined as

“[a]nalyzing a call stack for return addresses which point to unexpected memory locations.” On

information and belief, the Accused Products incorporate the MITRE D3FEND defensive

cybersecurity techniques including “Memory Boundary Tracking.”




                                              91
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 92 of 144




                                         Memory Boundary Tracking

                                                                     ID: D3-MBT (Memory Boundary Tracking)

Definition

Analyzing a call stack for return addresses which point to unexpected memory locations.

How it works

This technique monitors for indicators of whether a return address is outside memory previously allocated
for an object (i.e. function, module, process, or thread). If so, code that the return address points to is treated
as malicious code.

Considerations

Kernel malware can manipulate memory contents, for example modifying pointers to hide processes, and
thereby impact the accuracy of memory allocation information used to perform the analysis.

Digital Artifact Relationships:

This countermeasure technique is related to specific digital artifacts. Click the artifact node for more
information.




                                                        92
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 93 of 144




(See https://d3fend.mitre.org/technique/d3f:MemoryBoundaryTracking; see also

https://www.csoonline.com/article/3625470/mitre-d3fend-explained-a-new-knowledge-graph-

for-cybersecurity-defenders.html; https://d3fend.mitre.org/resources/D3FEND.pdf.)




(See https://www.sophos.com/en-us/content/threat-hunting.aspx.)

       233.   On information and belief, the Accused Products perform a method that includes

performing, during the executing of the stack walk processing before an address of an originating

caller function is reached, a memory check for a plurality of stack entries identified during the

stack walk processing to detect suspicious behavior. For example, the Accused Products include

“Memory Scanning,” Behavioral Detections,” and “Exploit Prevention…[e]ffective for run-time

prevention of exploit-based malware.”




                                               93
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 94 of 144




(See https://secure2.sophos.com/it-it/medialibrary/PDFs/other/end-of-ransomware/MarkLoman

SophosInterceptX.ashx.)

       234.   As shown above, the Accused Products include the “CallerCheck” anti-exploit

module for “[p]revent[ing] API invocation from stack memory.” In addition, as shown above, the

Accused Products utilize the threat-based MITRE ATT&CK framework, and on information and

belief, utilize companion project D3FEND for defensive cybersecurity techniques including

“Memory Boundary Tracking” defined as “[a]nalyzing a call stack for return addresses which point

to unexpected memory locations.” (See https://news.sophos.com/en-us/2021/03/04/covert-code-

faces-a-heap-of-trouble-in-memory/.)




                                              94
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 95 of 144



                                         Memory Boundary Tracking

                                                                     ID: D3-MBT (Memory Boundary Tracking)

Definition

Analyzing a call stack for return addresses which point to unexpected memory locations.

How it works

This technique monitors for indicators of whether a return address is outside memory previously allocated
for an object (i.e. function, module, process, or thread). If so, code that the return address points to is treated
as malicious code.

Considerations

Kernel malware can manipulate memory contents, for example modifying pointers to hide processes, and
thereby impact the accuracy of memory allocation information used to perform the analysis.

Digital Artifact Relationships:

This countermeasure technique is related to specific digital artifacts. Click the artifact node for more
information.




(See https://d3fend.mitre.org/technique/d3f:MemoryBoundaryTracking; see also

https://www.csoonline.com/article/3625470/mitre-d3fend-explained-a-new-knowledge-graph-

for-cybersecurity-defenders.html; https://d3fend.mitre.org/resources/D3FEND.pdf);

https://www.sophos.com/en-us/medialibrary/Gated-Assets/white-papers/Sophos-Comprehensive-

Exploit-Prevention-wpna.pdf.)

        235.     On information and belief, the Accused Products perform a method that includes

wherein an alert of suspicious behavior is triggered when the performing of the memory check

detects at least one of the following: code execution is attempted from non-executable memory, a

base pointer is identified as being invalid, an invalid stack return address is identified, attempted

execution of a return-oriented programming technique is detected, the base pointer is detected as



                                                        95
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 96 of 144




being outside a current thread stack, and a return address is detected as being inside a virtual

memory area. For example, the Accused Products detect and prevent malware memory

exploitations including “Stack Pivot,” “Stack Exec,” “Stack-based ROP [return-oriented

programming] Mitigations,” and “Shellcode.”




                                              96
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 97 of 144




(See https://secure2.sophos.com/it-it/medialibrary/PDFs/other/end-of-ransomware/MarkLoman

SophosInterceptX.ashx.)

       236.    In another example, the Accused Products prevent malware attacks using stack

memory including “DEP,” “ROP,” “CallerCheck,” “StackPivot,” “StackExec,” and “AmsiGuard.”




(See https://news.sophos.com/en-us/2021/03/04/covert-code-faces-a-heap-of-trouble-in-

memory/.)

       237.    The Accused Products perform a method that includes wherein when an alert of

suspicious behavior is triggered, preventing execution of a payload for the invoked function from

operating. For example, the Accused Products “stop[] the techniques used in file-less, malware-

less, and exploit-based attacks.”


                                               97
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 98 of 144




(See https://www.sophos.com/en-us/products/endpoint-antivirus.aspx.)

       238.   In another example, the Accused Products are demonstrated preventing shellcode

execution by utilizing non-executable memory and using “Data Execution Prevention…to prevent

abuse of a buffer overflow.”




                                             98
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 99 of 144




(See https://news.sophos.com/en-us/2021/03/04/covert-code-faces-a-heap-of-trouble-in-

memory/.)

        239.    Each claim in the ’591 Patent recites an independent invention. Neither claim 1,

described above, nor any other individual claim is representative of all claims in the ’591 Patent.

        240.    Defendant has been aware of the ’591 Patent since at least the filing of this

Complaint. Further, Plaintiffs have marked its products with the ’591 Patent, including on its web

site, since at least July 2020.

        241.    Defendant directly infringes at least claim 1 of the ’591 Patent, literally or under

the doctrine of equivalents, by performing the steps described above. For example, on information

and belief, Defendant performs the claimed method as described above by running this software

and corresponding systems to protect its own computer and network operations. On information

and belief, Defendant also performs the claimed method as described above when testing the

operation of the Accused Products and corresponding systems. As another example, Defendant

performs the claimed method as described above when providing or administering services to third

parties, customers, and partners using the Accused Products.

        242.    Defendant’s partners, customers, and end users of the Accused Products and

corresponding systems and services directly infringe at least claim 1 of the ’591 Patent, literally or

under the doctrine of equivalents, at least by using the Accused Products and corresponding

systems and services, as described above.

        243.    Defendant has actively induced and is actively inducing infringement of at least

claim 1 of the ’591 Patent with specific intent to induce infringement, and/or willful blindness to

the possibility that its acts induce infringement, in violation of 35 U.S.C. § 271(b). For example,


                                                 99
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 100 of 144




Defendant encourages and induces customers to use Sophos’s security software in a manner that

infringes claim 1 of the ’591 Patent at least by offering and providing software that performs a

method that infringes claim 1 when installed and operated by the customer, and by engaging in

activities relating to selling, marketing, advertising, promotion, installation, support, and

distribution of the Accused Products.

         244.   Defendant encourages, instructs, directs, and/or requires third parties—including

its certified partners and/or customers—to perform the claimed method using the software,

services, and systems in infringing ways, as described above.

         245.   Defendant further encourages and induces its customers to infringe claim 1 of the

’591 Patent: 1) by making its security services available on its website, providing applications that

allow users to access those services, widely advertising those services, and providing technical

support and instructions to users, and 2) through activities relating to marketing, advertising,

promotion, installation, support, and distribution of the Accused Products, including its Sophos

security software, and services in the United States. (See https://www.sophos.com/en-

us/products/endpoint-antivirus/how-to-buy.aspx;       https://partners.sophos.com/english/directory/

search?lat=30.267153&lng=-97.7430608&dMI=100&p=1;                https://secure2.sophos.com/en-us/

security-news-trends/whitepapers/gated-wp/cybersecurity-system-buyers-uide.aspx%23form

Frame)

         246.   For example, on information and belief, Defendant shares instructions, guides, and

manuals, which advertise and instruct third parties on how to use the software as described above,

including with at least customers and partners. (Id.) On further information and belief, Defendant

also provides customer service and technical support to purchasers of the Accused Products and

corresponding system and services, which directs and encourages customers to perform certain




                                                100
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 101 of 144




actions that use the Accused Products in an infringing manner. (Id.)

       247.    Defendant and/or its partners recommend and sell the Accused Products and

provide technical support for the installation, implementation, integration, and ongoing operation

of the Accused Products for each individual customer. On information and belief, each customer

enters into a contractual relationship with Defendant and/or one of its partners, which obligates

each customer to perform certain actions in order to use the Accused Products. Further, in order to

receive the benefit of Defendant’s and/or its partner’s continued technical support and their

specialized knowledge and guidance of the operability of the Accused Products, each customer

must continue to use the Accused Products in a way that performs the claimed method and

infringes the ’591 Patent.

       248.    Further, as the entity that provides installation, implementation, and integration of

the Accused Products in addition to ensuring the Accused Product remains operational for each

customer through ongoing technical support, on information and belief, Defendant and/or its

partners affirmatively aid and abet each customer’s use of the Accused Products in a manner that

performs the claimed method of, and infringes, the ’591 Patent.

       249.    Defendant also contributes to the infringement of its partners, customers, and end-

users of the Accused Products by providing within the United States or importing into the United

States the Accused Products, which are for use in practicing, and under normal operation practice,

methods claimed in the Asserted Patents, constituting a material part of the claimed methods, and

not a staple article or commodity of commerce suitable for substantial non-infringing uses. Indeed,

as shown above, the Accused Products and the example functionality described below have no

substantial non-infringing uses but are specifically designed to practice the ’591 Patent.

       250.    On information and belief, the infringing actions of each partner, customer, and/or




                                                101
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 102 of 144




end-user of the Accused Products are attributable to Defendant. For example, on information and

belief, Defendant directs and controls the activities or actions of its partners or others in connection

with the Accused Products by contractual agreement or otherwise requiring partners or others to

provide information and instructions to customers who acquire the Accused Products which, when

followed, results in infringement. Defendant further directs and controls the operation of devices

executing the Accused Products by programming the software which, when executed by a

customer or end user, perform the method steps of at least claim 1 of the ‘591 Patent.

        251.    Plaintiffs have suffered and continue to suffer damages, including lost profits, as a

result of Defendant’s infringement of the ’591 Patent. Defendant is therefore liable to Plaintiffs

under 35 U.S.C. § 284 for damages in an amount that adequately compensates Plaintiffs for

Defendant’s infringement, but no less than a reasonable royalty.

        252.    Plaintiffs will continue to suffer irreparable harm unless this Court preliminarily

and permanently enjoins Defendant, its agents, employees, representatives, and all others acting

in concert with Defendant from infringing the ’591 Patent.

        253.    Defendant’s infringement of the ’591 Patent is knowing and willful. Defendant had

actual knowledge of the ’591 Patent at least by the time Plaintiffs filed this lawsuit and had

constructive knowledge of the ’591 Patent from at least the date Plaintiffs marked their products

with the ’591 Patent and/or provided notice of the ’591 Patent on their website.

        254.    On information and belief, despite Defendant’s knowledge of the Asserted Patents

and Plaintiffs’ patented technology, Defendant made the deliberate decision to sell products and

services that they knew infringe the ’591 Patent. Defendant’s continued infringement of the ’591

Patent with knowledge of the ’591 Patent constitutes willful infringement.




                                                  102
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 103 of 144




                                 SIXTH CAUSE OF ACTION
                           (INFRINGEMENT OF THE ’844 PATENT)

         255.   Plaintiffs reallege and incorporate by reference the allegations of the preceding

paragraphs of this Complaint.

         256.   Defendant has infringed and continues to infringe one or more claims of the ’844

Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the United States and will

continue to do so unless enjoined by this Court. The Accused Products, including features such as

Intercept X Advanced with EDR (“Intercept X”), at least when used for their ordinary and

customary purposes, practice each element of at least claim 1 of the ’844 Patent, as described

below.

         257.   Claim 1 of the ’844 Patent recites:

                1.      A computer-implemented method comprising:

                 extracting a plurality of static data points from an executable file without
         decrypting or unpacking the executable file, wherein the plurality of static data
         points represent predefined character strings in the executable file;

                 generating a feature vector from the plurality of static data points using a
         classifier trained to classify the plurality of static data points based on a collection
         of data comprising known malicious executable files, known benign executable
         files, and known unwanted executable files, wherein the collection of data
         comprises at least a portion of the plurality of static data points, and

                 wherein one or more features of the feature vector are selectively turned on
         or off based on whether a value of one or more static data points from the plurality
         of extracted static data points is within a predetermined range; and

               evaluating the feature vector using support vector processing to determine
         whether the executable file is harmful.


         258.   The Accused Products perform each element of the method of claim 1 of the ’844

Patent. To the extent the preamble is construed to be limiting, the Accused Products perform a

computer-implemented method, as further explained below. For example, Intercept X employs a



                                                  103
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 104 of 144




“deep neural network…trained on hundreds of millions of samples to detect when a file is

malicious, potentially unwanted, or legitimate.”




(See https://www.sophos.com/en-us/press-office/press-releases/2017/11/sophos-adds-deep-

learning-capabilities-to-intercept-x-early-access-program.aspx.)

       259.    The Accused Products perform a method of extracting a plurality of static data

points from an executable file without decrypting or unpacking the executable file, wherein the

plurality of static data points represent predefined character strings in the executable file. For

example, Intercept X’s “Deep Learning” technology, “extract[s] millions of features from a file

and determine if it is malicious before the program executes.” These extracted features include the

most “significant strings found in the file,” the attribute “Findcrypt,” which “shows any suspicious

cryptographic constants” found within the file, and the attribute “Resources,” which “specifies a

resource” within the file “that appears to be compressed or encrypted.”




                                                104
            Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 105 of 144




    (See https://secure2.sophos.com/en-us/medialibrary/Gated-Assets/white-papers/Sophos-

    Intercept-X-Solution-Brief.pdf.)



    Machine learning analysis
    Under Machine learning analysis, you can see full results of our analysis.
    Attributes shows a comparison of the file's attributes with those in millions of known bad and known
    good files. This enables you to determine how suspicious each attribute is and therefore whether the file
    is likely to be good or bad. You may see the following attributes:

•   Imports describes the functionality that the file uses from external DLLs.

•   Strings describes the most significant strings in the file.

•   Compilers specifies what was used to compile the source code, for example C++, Delphi, Visual Basic,
    .NET.

•   Mitigation describes techniques that the file uses to avoid being exploited.

•   Resources specifies a resource that seems to be compressed or encrypted.

•   Summary often relates to build or compilation dates, for example.


                                                         105
            Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 106 of 144




•   Packer often specifies something of note about a specific section of the file, for example a suspicious
    section name or the fact that a section is both writable and executable.

•   Peid refers to the output of PEiD, a third-party tool that scans a PE file against various malware
    signatures.

•   Btcaddress shows any valid Bitcoin address that is found in the file.

•   Findcrypt shows any suspicious cryptographic constants.
    Code similarity shows a comparison of the file with millions of known bad and known good files, and lists
    the closest matches. Other matches count toward the result and may affect the rating for the file. The
    more bad files the file matches and the more closely it matches them, the more suspicious the file is.
    File/path shows a comparison of the file's path with that of millions of known bad and known good files. If
    the file's path more closely matches the path of known bad files, the file is more likely to be suspicious.
    The path and file name used for comparison are either yours (if you requested the latest intelligence) or
    those from the last customer who sent us a file. We hide sensitive information in other customers' paths.


    (See https://docs.sophos.com/central/Customer/help/en-us/central/Customer/concepts/

    ProcessDetails.html.)

            260.    The Accused Products perform a method of generating a feature vector from the

    plurality of static data points using a classifier trained to classify the plurality of static data points

    based on a collection of data comprising known malicious executable files, known benign

    executable files, and known unwanted executable files, wherein the collection of data comprises

    at least a portion of the plurality of static data points. For example, Intercept X employs “Deep

    Learning models” (i.e., advanced machine learning models) that have been trained on “hundreds

    of millions of samples” to classify the features extracted from a file to “determine if a file is benign

    or malicious…before the file executes.” Such samples include “Potentially Unwanted

    Applications” such as adware. Before using a deep learning model to classify the features extracted

    from a file, Intercept X creates a “vector of information” that translates those features into data

    that the model can “intake” and “process.”




                                                       106
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 107 of 144




(See https://www.sophos.com/en-us/medialibrary/PDFs/factsheets/sophos-intercept-x-deep-

learning-dsna.pdf.)




                                            107
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 108 of 144




(See https://www.sophos.com/en-us/medialibrary/PDFs/technical-papers/machine-learning-how-

to-build-a-better-threat-detection-model.pdf?cmp=70130000001xKqzAAE.)




                                           108
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 109 of 144




(See https://www.sophos.com/en-us/medialibrary/PDFs/technical-papers/sophos-black-hat-2018-

technicalpaper.pdf.)




(See https://www.sophos.com/en-us/medialibrary/PDFs/technical-papers/sophos-black-hat-2018-

technicalpaper.pdf.)



                                           109
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 110 of 144




       261.    The feature vector is “evaluated by a multi-stage deep learning algorithm to

determine how similar the software is to malware or potentially unwanted software. Depending on

the score [the file] is classified as malicious, potentially unwanted, or legitimate.”




(See https://secure2.sophos.com/en-us/medialibrary/Gated-Assets/white-papers/Sophos-

Intercept-X-Solution-Brief.pdf.)

       262.    The Accused Products perform a method wherein one or more features of the

feature vector are selectively turned on or off based on whether a value of one or more static data

points from the plurality of extracted static data points is within a predetermined range. For

example, Intercept X employs “feature selection” to only “keep relevant features before feeding

them into” its deep learning models, “identifying and removing as much noisy and redundant

information as possible from extracted features.”



                                                 110
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 111 of 144




(See https://www.sophos.com/en-us/medialibrary/PDFs/technical-papers/sophoslabs-machine-

learning-tp.pdf.)

       263.    The Accused Products perform a method of evaluating the feature vector using

support vector processing to determine whether the executable file is harmful. For example, and

as explained above, Intercept X employs “Deep Learning models” (i.e., advanced machine

learning models) that have been trained on “hundreds of millions of samples” to classify the

features extracted from a file to “determine if a file is benign or malicious…before the file

executes.” Before using a deep learning model to classify the features extracted from a file,

Intercept X creates a “vector of information” that translates those features into data that the model

can “intake” and “process.”




                                                111
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 112 of 144




(See https://www.sophos.com/en-us/medialibrary/PDFs/factsheets/sophos-intercept-x-deep-

learning-dsna.pdf.)




                                            112
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 113 of 144




(See https://www.sophos.com/en-us/medialibrary/PDFs/technical-papers/machine-learning-how-

to-build-a-better-threat-detection-model.pdf?cmp=70130000001xKqzAAE.)

       264.    The feature vector is “evaluated by a multi-stage deep learning algorithm to

determine how similar the software is to malware or potentially unwanted software. Depending on

the score [the file] is classified as malicious, potentially unwanted, or legitimate.” That evaluation

is processed using support vector processing.




                                                 113
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 114 of 144




(See https://www.sophos.com/en-us/medialibrary/PDFs/technical-papers/sophoslabs-machine-

learning-tp.pdf.)

        265.    Each claim in the ’844 Patent recites an independent invention. Neither claim 1,

described above, nor any other individual claim is representative of all claims in the ‘844 Patent.

        266.    Defendant has been aware of the ’844 Patent since at least the filing of this

Complaint. Further, Plaintiffs have marked its products with the ’844 Patent, including on its web

site, since at least July 2020.

        267.    Defendant directly infringes at least claim 1 of the ’844 Patent, either literally or

under the doctrine of equivalents, by performing the steps described above. For example, on

information and belief, Defendant performs the claimed method as described above by running the




                                                114
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 115 of 144




Sophos security software and corresponding systems to protect its own computer and network

operations. On information and belief, Defendant also performs the claimed method as described

above when testing the operation of the Accused Products and corresponding systems. As another

example, Defendant performs the claimed method as described above when providing or

administering services to third parties, customers, and partners using the Accused Products.

       268.    Defendant’s partners, customers, and end users of the Accused Products and

corresponding systems and services directly infringe at least claim 1 of the ’844 Patent, literally or

under the doctrine of equivalents, at least by using the Accused Products and corresponding

systems and services, as described above.

       269.    Defendant has actively induced and is actively inducing infringement of at least

claim 1 of the ’844 Patent with specific intent to induce infringement, and/or willful blindness to

the possibility that its acts induce infringement, in violation of 35 U.S.C. § 271(b). For example,

Sophos encourages and induces customers to use Sophos’s security software in a manner that

infringes claim 1 of the ’844 Patent at least by offering and providing software that performs a

method that infringes claim 1 when installed and operated by the customer, and by engaging in

activities relating to selling, marketing, advertising, promotion, installation, support, and

distribution of the Accused Products.

       270.    Defendant encourages, instructs, directs, and/or requires third parties—including

its certified partners and/or customers—to perform the claimed method using the software,

services, and systems in infringing ways, as described above.

       271.    Defendant further encourages and induces its customers to infringe claim 1 of the

’844 Patent: 1) by making its security services available on its website, providing applications that

allow users to access those services, widely advertising those services, and providing technical




                                                 115
          Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 116 of 144




support and instructions to users, and 2) through activities relating to marketing, advertising,

promotion, installation, support, and distribution of the Accused Products, including its Sophos

security software, and services in the United States. (See https://www.sophos.com/en-

us/products/endpoint-antivirus/how-to-buy.aspx;         https://partners.sophos.com/english/directory/

search?lat=30.267153&lng=-97.7430608&dMI=100&p=1;                  https://secure2.sophos.com/en-us/

security-news-trends/whitepapers/gated-wp/cybersecurity-system-buyers-guide.aspx%23form

Frame;       see       also    https://www.sophos.com/en-us/medialibrary/PDFs/factsheets/sophos-

synchronized-security-ds.pdf.)

          272.     For example, on information and belief, Defendant shares instructions, guides, and

manuals, which advertise and instruct third parties on how to use the software as described above,

including at least customers and partners. (Id.) On further information and belief, Defendant

provides customer service and technical support to purchasers of the Accused Products and

corresponding system and services, which directs and encourages customers to perform certain

actions that use the Accused Products in an infringing manner. (Id.)

          273.     Defendant and/or its partners recommend and sell the Accused Products and

provide technical support for the installation, implementation, integration, and ongoing operation

of the Accused Products for each individual customer. On information and belief, each customer

enters into a contractual relationship with Defendant and/or one of its partners, which obligates

each customer to perform certain actions in order to use the Accused Products. Further, in order to

receive the benefit of Defendant’s or its partner’s continued technical support and their specialized

knowledge and guidance of the operability of the Accused Products, each customer must continue

to use the Accused Products in a way that performs the claimed method and infringes the ’844

Patent.




                                                  116
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 117 of 144




        274.    Further, as the entity that provides installation, implementation, and integration of

the Accused Products in addition to ensuring the Accused Product remains operational for each

customer through ongoing technical support, on information and belief, Defendant and/or

Sophos’s partners affirmatively aid and abet each customer’s use of the Accused Products in a

manner that performs the claimed method of, and infringes, the ’844 Patent.

        275.    Defendant also contributes to the infringement of its partners, customers, and end-

users of the Accused Products by providing within the United States or importing into the United

States the Accused Products, which are for use in practicing, and under normal operation practice,

methods claimed in the Asserted Patents, constituting a material part of the claimed methods, and

not a staple article or commodity of commerce suitable for substantial non-infringing uses. Indeed,

as shown above, the Accused Products and the example functionality described below have no

substantial non-infringing uses but are specifically designed to practice the ’844 Patent.

        276.    On information and belief, the infringing actions of each partner, customer, and/or

end-user of the Accused Products are attributable to Defendant. For example, on information and

belief, Defendant directs and controls the activities or actions of its partners or others in connection

with the Accused Products by contractual agreement or otherwise requiring partners or others to

provide information and instructions to customers who acquire the Accused Products which, when

followed, results in infringement. Defendant further directs and controls the operation of devices

executing the Accused Products by programming the software which, when executed by a

customer or end user, perform the method steps of at least claim 1 of the ’844 Patent.

        277.    Plaintiffs have suffered and continue to suffer damages, including lost profits, as a

result of Defendant’s infringement of the ’844 Patent. Defendant is therefore liable to Plaintiffs

under 35 U.S.C. § 284 for damages in an amount that adequately compensates Plaintiffs for




                                                  117
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 118 of 144




Defendant’s infringement, but no less than a reasonable royalty.

       278.    Plaintiffs will continue to suffer irreparable harm unless this Court preliminarily

and permanently enjoins Defendant, its agents, employees, representatives, and all others acting

in concert with Defendant from infringing the ’844 Patent.

       279.    Defendant’s infringement of the ’844 Patent is knowing and willful. Defendant had

actual knowledge of the ’844 Patent at least by the time Plaintiffs filed this lawsuit and had

constructive knowledge of the ’844 Patent from at least the date Plaintiffs marked their products

with the ’844 Patent and/or provided notice of the ’844 Patent on their website.

       280.    On information and belief, despite Defendant’s knowledge of the Asserted Patents

and Plaintiffs’ patented technology, Defendant made the deliberate decision to sell products and

services that they knew infringe the ’844 Patent. Defendant’s continued infringement of the ’844

Patent with knowledge of the ’844 Patent constitutes willful infringement.

                             SEVENTH CAUSE OF ACTION
                         (INFRINGEMENT OF THE ’721 PATENT)

       281.    Plaintiffs reallege and incorporate by reference the allegations of the preceding

paragraphs of this Complaint.

       282.    Sophos has infringed and continues to infringe one or more claims of the ’721

Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the United States and will

continue to do so unless enjoined by this Court. The Accused Products, including features such as

Sophos Firewall, at least when used for their ordinary and customary purposes, practice each

element of at least claim 1 of the ’721 Patent as described below.

       283.    For example, claim 1 of the ’721 Patent recites:

             1.       A method of classifying a computer object as malware, the method
       comprising:


                                               118
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 119 of 144




               receiving, at a first threat server, details of a first computer object from a
       first remote computer, wherein the details of the first computer object include data
       uniquely identifying the first computer object;

               determining, by the first threat server, whether the first computer object has
       been previously seen by comparing the data uniquely identifying the first computer
       object to a plurality of data uniquely identifying plural computer objects in a first
       database associated with the first threat server;

               receiving additional information about the first computer object from the
       first remote computer when the first computer object has not been previously seen;

                storing the details of the first computer object and the received additional
       information about the first computer object in a second database associated with
       the first threat server when the first computer object has not been previously seen;

              providing contents of the second database to at least one database associated
       with a central server, wherein the contents comprise a signature of the first
       computer object, behavior information about the first computer object, and
       information about the first remote computer;

               increasing a count associated with a number of times that the first computer
       object has been seen, and providing the increased count associated with the number
       of times that the first computer object has been seen to the central server; and

                receiving, at a second threat server, at least a portion of the contents of the
       at least one database associated with the central server, wherein the at least a portion
       of the contents of the at least one database associated with the central server include
       a subset of the details of the first computer object stored in the second database.

       284.    To the extent the preamble is construed as limiting, the Accused Products include

a method for classifying malware as explained below.

       285.    The Accused Products perform a method that includes receiving, at a first threat

server details of a first computer object from a first remote computer wherein the details of the

first computer object include data uniquely identifying the first computer object. For example,

Sophos’ Firewall connects to the Sophos endpoint protection service installed at a remote computer

through Sophos Heartbeat. Through that connection to the remote computer, Sophos Firewall

receives data about computer objects and, on information and belief, like “all firewalls,” uses a



                                                119
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 120 of 144




static application signature received from the endpoints to identify computer objects.

Cryptographically strong hashes such as MD5 and SHA1, as shown below, uniquely identify an

object (e.g., file named “malicious.pdf”).




(See https://www.sophos.com/en-us/medialibrary/pdfs/factsheets/sophos-firewall-br.pdf

(annotations added); see also https://www.sophos.com/en-us/medialibrary/pdfs/factsheets/

sophos-firewall-br.pdf.)




                                             120
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 121 of 144




(See https://www.youtube.com/watch?v=YR4CR4Sht3A.)

       286.   The Accused Products perform a method that includes determining, by the first

threat server whether the first computer object has been previously seen by comparing the data

uniquely identifying the first computer object to a plurality of data uniquely identifying plural

computer objects in a first database associated with the first threat server. As explained above,

Sophos Firewall receives data about computer objects and, on information and belief, like “all

firewalls,” uses a static application signature received from the endpoints to identify computer

objects. For example, if the Firewall does not have the data in its CPU to enact Fastpath —a

mechanism by which trusted data or objects bypass security measures— automatically, Sophos




                                              121
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 122 of 144




Firewall looks at static signature data from the unique computer object and compares that

information with information provided by Sophos’ Talos IPS Signature database. The object then

travels along two paths: Sophos Fastpath or a standard protocol. Fastpath is reserved for known

permissible objects, and the standard track is used for unknown or malicious objects.




(See https://www.sophos.com/en-us/medialibrary/pdfs/factsheets/sophos-firewall-br.pdf.)




                                              122
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 123 of 144




(See https://techvids.sophos.com/watch/uCC7QqkYcTJtLiBMNhZV32.)




(See https://docs.sophos.com/nsg/sophos-firewall/18.0/Help/en-us/webhelp/onlinehelp/nsg/sfos/

concepts/Architecture.html; see also https://www.youtube.com/watch?v=YR4CR4Sht3A.)




(See https://www.youtube.com/watch?v=aXNo4V2A1Gw.)




                                             123
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 124 of 144




(See https://www.sophos.com/en-us/medialibrary/pdfs/factsheets/sophos-firewall-br.pdf.)

       287.    The Accused Products perform a method that includes receiving additional

information about the first computer object from the first remote computer when the first computer

object has not been previously seen. For example, if Sophos Firewall cannot immediately identify

the object based on its Fastpath data or there is no match in Talos database, then Sophos Firewall

receives more information about the unknown object through Sophos Heartbeat. As explained

below, that additional data is provided to an Advanced Threat Protection (“ATP”) database, which

“provides” information on “JavaScript emulation, behavioral analysis, and origin reputation”

based on the information received from the endpoints.




                                               124
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 125 of 144




(See https://www.sophos.com/en-us/medialibrary/pdfs/factsheets/sophos-firewall-br.pdf.)




                                             125
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 126 of 144




(See https://techvids.sophos.com/watch/uCC7QqkYcTJtLiBMNhZV32.)




(See https://www.sophos.com/en-us/medialibrary/pdfs/factsheets/sophos-firewall-br.pdf.)




(See https://www.sophos.com/en-us/medialibrary/pdfs/factsheets/sophos-firewall-br.pdf.)

       288.    The Accused Products perform a method that includes storing the details of the first

computer object and the received additional information about the first computer object in a

second database associated with the first threat server when the first computer object has not been

previously seen. For example, after Sophos Firewall determines that it has not previously seen the


                                               126
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 127 of 144




computer object, it then sends the information it has received about the object to the Advanced

Threat Protection (“ATP”) database associated with that Sophos Firewall. The ATP database

collects and “provides” information on “JavaScript emulation, behavioral analysis, and origin

reputation.” On information and belief, each Sophos Firewall is associated with an ATP database.

For example, after a first firewall encounters a new object, the system administrator must update

other firewalls on the network with the new information from the first firewall, thereby indicating

there are multiple ATP databases.




(See https://www.sophos.com/en-us/medialibrary/pdfs/factsheets/sophos-firewall-br.pdf.)




(See https://www.sophos.com/en-us/medialibrary/pdfs/factsheets/sophos-firewall-br.pdf.)


                                               127
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 128 of 144




(See https://techvids.sophos.com/watch/wm84yg3wcZtYB1sZjwYyKt.)




(See https://community.sophos.com/sophos-xg-firewall/f/recommended-reads/122357/life-of-a-

packet-sophos-firewall#mcetoc_1fc8lebu84.)




                                             128
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 129 of 144




(See https://player.vimeo.com/video/144094496?width=800&height=450&iframe=true&

portrait=0.)




                                         129
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 130 of 144




(See https://player.vimeo.com/video/144094496?width=800&height=450&iframe=

true&portrait=0.)




                                         130
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 131 of 144




(See https://player.vimeo.com/video/144094496?width=800&height=450&iframe=

true&portrait=0.)




                                         131
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 132 of 144




(See https://player.vimeo.com/video/144094496?width=800&height=450&iframe=

true&portrait=0.)

       289.    The Accused Products perform a method that includes providing contents of the

second database to at least one database associated with a central server, wherein the contents

comprise a signature of the first computer object, behavior information about the first computer

object, and information about the first remote computer. For example, on information and belief,

the ATP database associated with the Firewall that receives the data from the first remote computer

communicates with a reporter database associated with Sophos’ Control Center, Sophos Central.

Based on the information collected and reported, Sophos Central displays information about the

object’s signature, behavior, and the computer on which it was observed.




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true&portrait=0.)




                                               132
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 133 of 144




(See https://player.vimeo.com/video/144094496?width=800&height=450&iframe=

true&portrait=0.)




(See https://player.vimeo.com/video/144094496?width=800&height=450&iframe=

true&portrait=0.)

       290.   The Accused Products perform a method that includes increasing a count

associated with a number of times that the first computer object has been seen and providing the

increased count associated with the number of times that the first computer object has been seen



                                              133
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 134 of 144




to the central server. For example, Sophos Central displays a count for the number of times the

object under investigation has been seen. It then updates the count based on the current

observation.




(See https://player.vimeo.com/video/144094496?width=800&height=450&iframe=

true&portrait=0.)




                                             134
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 135 of 144




(See https://player.vimeo.com/video/144094496?width=800&height=450&iframe=

true&portrait=0.)

       291.    The Accused Products perform a method that includes receiving, at a second threat

server at least a portion of the contents of the at least one database associated with the central

server wherein the at least a portion of the contents of the at least one database associated with

the central server include a subset of the details of the first computer object stored in the second

database. For example, based on the information received at Sophos Central from the first Sophos

Firewall, Sophos Central sends at least some of the information about the computer object to each

of the other ATP databases associated with each of the Sophos Firewalls (i.e., other Sophos

Firewalls connected to the network)—such as information that enables the object to be identified

(e.g., on information and belief, information that enables each Sophos Firewall to use a static




                                                135
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 136 of 144




application signature to identify computer objects). The updating of the ATP databases is

demonstrated by the update to the Firewall rules to look for the new object.




(See https://player.vimeo.com/video/144094496?width=800&height=450&iframe=

true&portrait=0.)




                                               136
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 137 of 144




(See https://player.vimeo.com/video/144094496?width=800&height=450&iframe=

true&portrait=0.)




                                         137
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 138 of 144




(See https://player.vimeo.com/video/144094496?width=800&height=450&iframe=

true&portrait=0.)

        292.    Each claim in the ’721 Patent recites an independent invention. Neither claim 1,

described above, nor any other individual claim is representative of all claims in the ’721 Patent.

        293.    Defendant has been aware of the ’721 Patent since at least the filing of this

Complaint. Further, Plaintiffs have marked its products with the ’721 Patent, including on its web

site, since at least July 2020.

        294.    Defendant directly infringes at least claim 1 of the ’721 Patent, literally or under

the doctrine of equivalents, by performing the steps described above. For example, on information

and belief, Defendant performs the claimed method in an infringing manner as described above by

running this software and corresponding systems to protect its own computer and network

operations. On information and belief, Defendant also performs the claimed method as described

above when testing the operation of the Accused Products and corresponding systems. As another

example, Defendant perform each of the method steps as described above when providing or

administering services to third parties, customers, and partners using the Accused Products.

        295.    Defendant’s partners, customers, and end users of the Accused Products and

corresponding systems and services directly infringe at least claim 1 of the ’721 Patent, literally or

under the doctrine of equivalents, at least by using the Accused Products and corresponding

systems and services, as described above.

        296.    Defendant has actively induced and is actively inducing infringement of at least

claim 1 of the ’721 Patent with specific intent to induce infringement, and/or willful blindness to

the possibility that its acts induce infringement, in violation of 35 U.S.C. § 271(b). For example,

Defendant encourages and induces customers to use Sophos security software in a manner that




                                                 138
         Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 139 of 144




infringes claim 1 of the ’721 Patent at least by offering and providing software that performs a

method that infringes claim 1 when installed and operated by the customer, and by engaging in

activities relating to selling, marketing, advertising, promotion, installation, support, and

distribution of the Accused Products.

         297.     Defendant encourages, instructs, directs, and/or requires third parties—including

its certified partners and/or customers—to perform the claimed method using the software,

services, and systems in infringing ways, as described above.

         298.     Defendant further encourages and induces its customers to infringe claim 1 of the

’721 Patent: 1) by making its security services available on its website, providing applications that

allow users to access those services, widely advertising those services, and providing technical

support and instructions to users, and 2) through activities relating to marketing, advertising,

promotion, installation, support, and distribution of the Accused Products, including Sophos

security software, and services in the United States. (See https://www.sophos.com/en-

us/products/endpoint-antivirus/how-to-buy.aspx;        https://partners.sophos.com/english/directory/

search?lat=30.267153&lng=-97.7430608&dMI=100&p=1;                 https://secure2.sophos.com/en-us/

security-news-trends/whitepapers/gated-wp/cybersecurity-system-buyers-guide.aspx%23form

Frame;      see       also    https://www.sophos.com/en-us/medialibrary/PDFs/factsheets/sophos-

synchronized-security-ds.pdf.)

         299.     For example, on information and belief, Defendant shares instructions, guides, and

manuals, which advertise and instruct third parties on how to use the software as described above,

including to at least customers and partners. (Id.) On further information and belief, Defendant

also provides customer service and technical support to purchasers of the Accused Products and

corresponding system and services, which directs and encourages customers to perform certain




                                                 139
       Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 140 of 144




actions that use the Accused Products in an infringing manner. (Id.)

       300.    Defendant and/or its partners recommend and sell the Accused Products and

provide technical support for the installation, implementation, integration, and ongoing operation

of the Accused Products for each individual customer. On information and belief, each customer

enters into a contractual relationship with Defendant and/or one of its partners, which obligates

each customer to perform certain actions in order to use the Accused Products. Further, in order to

receive the benefit of Defendant’s or its partner’s continued technical support and their specialized

knowledge and guidance of the operability of the Accused Products, each customer must continue

to use the Accused Products in a way that infringes the ’721 Patent.

       301.    Further, as the entity that provides installation, implementation, and integration of

the Accused Products in addition to ensuring the Accused Product remains operational for each

customer through ongoing technical support, on information and belief, Defendant and/or its

partners affirmatively aid and abet each customer’s use of the Accused Products in a manner that

performs the claimed method of, and infringes, the ’721 Patent.

       302.    Defendant also contributes to the infringement of its partners, customers, and end-

users of the Accused Products by providing within the United States or importing into the United

States the Accused Products, which are for use in practicing, and under normal operation practice,

methods claimed in the Asserted Patents, constituting a material part of the claimed methods, and

not a staple article or commodity of commerce suitable for substantial non-infringing uses. Indeed,

as shown above, the Accused Products and the example functionality described below have no

substantial non-infringing uses but are specifically designed to practice the ’721 Patent.

       303.    On information and belief, the infringing actions of each partner, customer, and/or

end-user of the Accused Products are attributable to Defendant. For example, on information and




                                                140
        Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 141 of 144




belief, Defendant directs and controls the activities or actions of its partners or others in connection

with the Accused Products by contractual agreement or otherwise requiring partners or others to

provide information and instructions to customers who acquire the Accused Products which, when

followed, results in infringement. Defendant further directs and controls the operation of devices

executing the Accused Products by programming the software which, when executed by a

customer or end user, perform the method steps of at least claim 1 of the ‘721 Patent.

        304.    Plaintiffs have suffered and continue to suffer damages, including lost profits, as a

result of Defendant’s infringement of the ’721 Patent. Defendant is therefore liable to Plaintiffs

under 35 U.S.C. § 284 for damages in an amount that adequately compensates Plaintiffs for

Defendant’s infringement, but no less than a reasonable royalty.

        305.    Plaintiffs will continue to suffer irreparable harm unless this Court preliminarily

and permanently enjoins Defendant, its agents, employees, representatives, and all others acting

in concert with Defendant from infringing the ’721 Patent.

        306.    Defendant’s infringement of the ’721 Patent is knowing and willful. Defendant had

actual knowledge of the ’721 Patent at least by the time Plaintiffs filed this lawsuit and had

constructive knowledge of the ’721 Patent from at least the date Plaintiffs marked their products

with the ’721 Patent and/or provided notice of the ’721 Patent on their website.

        307.    On information and belief, despite Defendant’s knowledge of the Asserted Patents

and Plaintiffs’ patented technology, Defendant made the deliberate decision to sell products and

services that they knew infringe the patents. Defendant’s continued infringement of the ’721 Patent

with knowledge of the ’721 Patent constitutes willful infringement.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request the following relief:




                                                  141
Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 142 of 144




a)   That this Court adjudge and decree that Defendant has been, and are currently,

     infringing each of the Asserted Patents;

b)   That this Court award damages to Plaintiffs to compensate it for Defendant’s past

     infringement of the Asserted Patents, through the date of trial in this action;

c)   That this Court award pre- and post-judgment interest on such damages to

     Plaintiffs;

d)   That this Court order an accounting of damages incurred by Plaintiffs from six years

     prior to the date this lawsuit was filed through the entry of a final, non-appealable

     judgment;

e)   That this Court determine that this patent infringement case is exceptional pursuant

     to 35 U.S.C. §§ 284 and 285 and award Plaintiffs its costs and attorneys’ fees

     incurred in this action;

f)   That this Court award increased damages under 35 U.S.C. § 284;

g)   That this Court preliminarily and permanently enjoin Defendant from infringing

     any of the Asserted Patents;

h)   That this Court order Defendant to:

     (i)     recall and collect from all persons and entities that have purchased any and

             all products found to infringe any of the Asserted Patents that were made,

             offered for sale, sold, or otherwise distributed in the United States by

             Defendant or anyone acting on its behalf;

     (ii)    destroy or deliver all such infringing products to Plaintiffs;

     (iii)   revoke all licenses to all such infringing products;

     (iv)    disable all web pages offering or advertising all such infringing products;




                                      142
      Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 143 of 144




             (v)     destroy all other marketing materials relating to all such infringing products;

             (vi)    disable all applications providing access to all such infringing software; and

             (vii)   destroy all infringing software that exists on hosted systems,

      i)     That this Court, if it declines to enjoin Defendant from infringing any of the

             Asserted Patents, award damages for future infringement in lieu of an injunction;

             and

      j)     That this Court award such other relief as the Court deems just and proper.

                               DEMAND FOR JURY TRIAL

      OpenText respectfully requests a trial by jury on all issues triable thereby.



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                                              143
Case 6:22-cv-00240-ADA Document 1 Filed 03/04/22 Page 144 of 144




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                              144
